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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
In re:                                                 §        Chapter 11
                                                       §
CORE SCIENTIFIC, INC., et al.,                         §        Case No. 22-90341 (DRJ)
                                                       §
                                                       §        (Jointly Administered)
                    Debtors.1                          §        (Emergency Hearing Requested)
                                                       §

          EMERGENCY MOTION OF DEBTORS FOR ENTRY OF INTERIM AND
           FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
          REPLACEMENT SENIOR SECURED NON-PRIMING SUPERPRIORITY
     POSTPETITION FINANCING, (B) USE CASH COLLATERAL, AND (C) PAY OFF
           EXISTING POSTPETITION FINANCING FACILITY (II) GRANTING
      LIENS AND PROVIDING CLAIMS WITH SUPERPRIORITY ADMINISTRATIVE
         EXPENSE STATUS, (III) GRANTING ADEQUATE PROTECTION TO THE
     PREPETITION SECURED PARTIES, (IV) MODIFYING THE AUTOMATIC STAY,
     (V) SCHEDULING A FINAL HEARING, AND (VI) GRANTING RELATED RELIEF

        EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT
        LATER THAN 11:30 A.M. (CENTRAL PREVAILING TIME) ON WEDNESDAY,
        FEBRUARY 1, 2023.

        IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
        EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT
        THE HEARING IF ONE IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE
        DATE THAT RELIEF IS REQUESTED IN THE PRECEDING PARAGRAPH.
        OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
        GRANT THE RELIEF REQUESTED.

        YOU MAY PARTICIPATE IN THE HEARING EITHER IN PERSON OR BY AN
        AUDIO AND VIDEO CONNECTION.

        AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN
        FACILITY. YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE
        CONNECTED, YOU WILL BE ASKED TO ENTER THE CONFERENCE ROOM
        NUMBER. JUDGE JONES’ CONFERENCE ROOM NUMBER IS 205691. VIDEO

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
    Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
    Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC (6677);
    RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property Acquisitions, VII,
    LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300,
    Austin, Texas 78704.




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       COMMUNICATION WILL BE BY USE OF THE GOTOMEETING PLATFORM.
       CONNECT VIA THE FREE GOTOMEETING APPLICATION OR CLICK THE LINK
       ON JUDGE JONES’ HOME PAGE. THE MEETING CODE IS “JUDGEJONES”.
       CLICK THE SETTINGS ICON IN THE UPPER RIGHT CORNER AND ENTER YOUR
       NAME UNDER THE PERSONAL INFORMATION SETTING.

       HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF
       BOTH ELECTRONIC AND IN-PERSON HEARINGS.         TO MAKE YOUR
       APPEARANCE, CLICK THE “ELECTRONIC APPEARANCE” LINK ON JUDGE
       JONES’ HOME PAGE. SELECT THE CASE NAME, COMPLETE THE REQUIRED
       FIELDS AND CLICK “SUBMIT” TO COMPLETE YOUR APPEARANCE.

                   Core Scientific, Inc. and its debtor affiliates in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors” or “Borrower”),

respectfully move and represent as follows in support of this motion (the “Motion”):

                                            Preliminary Statement2

                   1.          On January 30, 2023, the Debtors filed a notice with the Court [Docket No.

378] informing all parties that they reached an agreement with a lender on the terms of a

replacement post-petition financing facility and intend to pay off their existing DIP financing loan.

By this Motion, the Debtors seek authorization to obtain approval of their entry into a superpriority

non-priming replacement senior secured debtor-in-possession credit facility in an aggregate

principal amount of up to $70 million (the “Replacement DIP Facility”), provided by B. Riley

Commercial Capital, LLC (“B. Riley” and solely in such capacity, the “Replacement DIP

Lender”) and agented by B. Riley Commercial Capital, LLC (solely in such capacity,

the “Replacement DIP Agent”). The Replacement DIP Facility consists of a new money multiple

draw term loan facility in an aggregate principal amount of up to $70 million (and the loans made

under the Replacement DIP Facility, the “Replacement DIP Loans”). Details of the terms of the




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    Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such terms
    in the First Day Declaration and the Proposed Replacement Interim DIP Order (each, as defined herein), as
    applicable.


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Replacement DIP Facility can be found in the “Replacement DIP Term Sheet” attached as

Exhibit 2 to the Proposed Replacement Interim DIP Order (as defined below).

                   2.          The Replacement DIP Facility will provide an aggregate principal amount

of $35 million on an interim basis, which shall be borrowed in a single borrowing (the “Interim

DIP Borrowing”) on the Closing Date (as defined in the Replacement DIP Term Sheet) upon

entry of the Interim Order (I) Authorizing the Debtors to (A) Obtain Senior Secured Non-priming

Superpriority Replacement Postpetition Financing, (B) Use Cash Collateral, and (C) Pay Off

Existing Postpetition Financing Facility, (II) Granting Liens and Providing Claims with

Superpriority Administrative (the “Proposed Replacement Interim DIP Order”) attached hereto

as Exhibit A. Following entry of the Replacement Final DIP Order (as defined below), the

remaining aggregate principal amount under the Replacement DIP Facility ($70 million total) shall

be available, in one or more borrowings.

                   3.          By this Motion, the Debtors also seek the authority to pay off the Original

DIP Facility and to use the Cash Collateral of their Prepetition Secured Noteholders. As of the

time of the filing of this Motion, the Debtors are in the process of negotiating the terms for the

consensual use of Cash Collateral with the Ad Hoc Group and are hopeful that an agreement will

be reached shortly. If an agreement cannot be reached, the Debtors intend to seek the non-

consensual use of cash collateral. The Debtors continue to work with the Replacement DIP

Lender, the Committee, and the Ad Hoc Group on the terms of the Proposed Replacement Interim

DIP Order and will file revised documents prior to the hearing, which the Debtors seek to schedule

for February 1, 2023 (the time for the hearing originally scheduled as the final hearing on the

Original DIP Facility (as defined herein)).




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                   4.          The Debtors announced a the outset these Chapter 11 Cases that they would

seek to replace the Original DIP Facility with a replacement DIP facility with better terms and

more flexibility than the Original DIP Facility. They successfully achieved this goal with the

Replacement DIP Facility.

                   5.          The Replacement DIP Facility is the result of extensive marketing and hard-

fought negotiations with numerous potential lenders. The Debtors kept both the Ad Hoc Group

and the Committee fully informed throughout the marketing and negotiation process, and the

Debtors understand that both the Committee and an ad hoc committee of shareholders are

supportive of the Debtors’ entry into the Replacement DIP Facility and the payoff of the Original

DIP Facility prior to final approval thereof. The Replacement DIP Facility provides the Debtors

with up to 15 months of runway and significant flexibility, particularly as the Replacement DIP

Facility has no plan-related milestones and is not conditioned on seeking approval of any specific

chapter 11 plan. It also contains economic terms that are reasonable and generally superior to

those provided under the Original DIP Facility. Its terms were also better than any alternative

proposal the Debtors received. The Replacement DIP Facility lays the foundation on which the

Debtors will seek to negotiate a consensual chapter 11 plan with all of their key constituents and

maximize value for all stakeholders.

                   6.          Approval of the DIP orders (the “Replacement DIP Orders”) on an interim

and ultimately final basis, will enable the Debtors to pay off the Original DIP Facility and is the

best source of postpetition financing currently available to the Debtors. Absent paying off the

Original DIP Facility or obtaining a final order approving the Original DIP Facility (including the

roll-up contemplated thereby) by February 2, 2023, the Debtors would be in default under the

Original DIP Facility. The Debtors do not believe it is prudent to proceed with approval of the



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Original DIP Facility on a final basis given the availability of the superior Replacement DIP

Facility. As the Debtors do not have the cash on hand to pay off the Original DIP Facility and still

have liquidity to operate their business, the Debtors need authority to enter into the Replacement

DIP Facility on an interim basis to avoid immediate and irreparable harm.

                   7.          Additional information regarding the Replacement DIP Facility is set forth

in the Declaration of John Singh in Support of Emergency Motion of Debtors for Entry of Interim

and Final Orders (I) Authorizing the Debtors to (A) Obtain Replacement Senior Secured Non-

priming Replacement Superpriority Postpetition Financing, (B) Use Cash Collateral, and (C) Pay

Off Existing Postpetition Financing Facility, (II) Granting Liens and Providing Claims with

Superpriority Administrative Expense Status, (III) Granting Adequate Protection to The

Prepetition Secured Parties, (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing,

and (VI) Granting Related Relief, sworn to the date hereof (the “Second Singh Declaration”), the

Declaration of Rodi Blokh in Support of Motion of Debtors for Entry of Interim and Final Orders

(I) Authorizing the Debtors to (A) Obtain Replacement Senior Secured Non-priming Superpriority

Postpetition Financing, (B) Use Cash Collateral, and (C) Pay Off Existing Postpetition Financing

Facility, (II) Granting Liens and Providing Claims with Superpriority Administrative Expense

Status, (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the

Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief, sworn to on

the date hereof (the “Blokh Declaration”), and Declaration of Russell Cann in Support of

Emergency Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors

to (A) Obtain Replacement Senior Secured Non-priming Replacement Superpriority Postpetition

Financing, (B) Use Cash Collateral, and (C) Pay Off Existing Postpetition Financing Facility, (II)

Granting Liens and Providing Claims with Superpriority Administrative Expense Status, (III)



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Granting Adequate Protection to The Prepetition Secured Parties, (IV) Modifying the Automatic

Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief, sworn to on the date

hereof (the “Cann Declaration”).3

                                                Relief Requested

                   8.          By this Motion, pursuant to sections 105, 361, 362, 363, 364, 503, and 507

of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004 and 9014, the Bankruptcy Local

Rules, and the Complex Case Procedures, the Debtors request entry of the Proposed Replacement

Interim DIP Order, as attached hereto as Exhibit A:

          (a)      authorizing the Debtors to obtain postpetition financing on a superpriority, non-
                   priming, senior secured basis and the loans made, advanced or deemed advanced
                   in the form of a non- amortizing multiple-draw term-loan Replacement DIP
                   Facility, pursuant to which (i) an aggregate principal amount of $35 million shall
                   be borrowed in a single borrowing on the Closing Date (as defined in the
                   Replacement DIP Term Sheet (as defined below)), and (ii) following entry of the
                   Replacement Final DIP Order (as defined below), the remaining aggregate
                   principal amount under the Replacement DIP Facility shall be available, in one or
                   more borrowings (each such borrowing, including the Interim DIP Borrowing, a
                   “Replacement DIP Borrowing,” and, collectively, the “Replacement DIP
                   Borrowings”), and, in each case, in accordance with and subject to the terms and
                   conditions (including any conditions precedent to each of the Replacement DIP
                   Borrowings) set forth in the term sheet attached to the Proposed Replacement
                   Interim DIP Order as Exhibit 1 (the “Replacement DIP Term Sheet”), that certain
                   Commitment Letter, dated as of January 29, 2023, by and between Core Scientific
                   and the Replacement DIP Lender attached to the Proposed Replacement Interim
                   DIP Order as Exhibit 2 (the “Commitment Letter”), and, subject to entry of the
                   Replacement Final DIP Order, on a final basis pursuant to a loan agreement (the
                   “Replacement DIP Credit Agreement,” and, together with all other agreements,
                   guarantees, pledge, collateral and security agreements, mortgages, deeds, charges,
                   control agreements, instruments, certificates, notes, any separate fee letter
                   agreements between any of the Debtors, on the one hand, and the Replacement DIP
                   Agent and/or the Replacement DIP Lender, on the other hand, and other documents
                   executed, filed and/or delivered in connection therewith, including the

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    The Debtors have been in communication with the equipment lenders that filed objections to the Original DIP
    Facility to determine if they would continue to assert similar objections to the Replacement DIP Facility. The
    Debtors believe that most, if not all, of the equipment lenders will be supportive of interim approval of the
    Replacement DIP Facility to replace the Original DIP Facility. However, given the lack of finality on this point,
    the Debtors submit the Cann Declaration as evidence against the equipment lenders’ assertions (without evidence)
    that the mining equipment is likely to decline in value.


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                   Replacement DIP Term Sheet, collectively, the “Replacement DIP Loan
                   Documents”), by and among Core Scientific, Inc., and its debtor affiliates as
                   borrowers (the “Replacement DIP Borrowers”), each of the direct and indirect
                   subsidiaries of Core Scientific, Inc. that are or become debtors in the Chapter 11
                   Cases, as guarantors (collectively, the “Replacement DIP Guarantors,” and
                   together with the Replacement DIP Borrowers, the “Replacement DIP Loan
                   Parties”), B. Riley, as administrative agent and collateral agent (in such capacities,
                   together with its successors and permitted assigns, the “Replacement DIP
                   Agent”), and the lender party thereto (the “Replacement DIP Lender,” and
                   together with the Replacement DIP Agent, the “Replacement DIP Secured
                   Parties”) and the Proposed Replacement Interim DIP Order;

         (b)       authorizing the Replacement DIP Loan Parties to (i) perform under the
                   Replacement DIP Term Sheet and execute, deliver, and perform each of the
                   Replacement DIP Loan Documents, (ii) incur all loans, advances, extensions of
                   credit, financial accommodations, indemnification and reimbursement obligations
                   and other obligations, and pay all principal, interest, premiums, fees, costs,
                   expenses, charges and all other amounts payable under the Replacement DIP Loan
                   Documents, whenever the same shall become due or payable, whether at stated
                   maturity, by prepayment, declaration, acceleration or otherwise, in each case, in
                   accordance with the Replacement DIP Loan Documents and the Proposed
                   Replacement Interim DIP Order (collectively, the “Replacement DIP
                   Obligations”), and (iii) perform such other and further acts as may be necessary,
                   required or desirable to implement and effectuate the terms of this Interim Order,
                   the Replacement DIP Loan Documents and the transactions contemplated
                   hereunder and thereunder;

         (c)       authorizing the Replacement DIP Borrowers to incur, and the Replacement DIP
                   Guarantors to jointly and severally guarantee, all Replacement DIP Obligations, in
                   accordance with the Proposed Replacement Interim DIP Order and the
                   Replacement DIP Loan Documents;

         (d)       granting to the Replacement DIP Agent, for the benefit of itself and the other
                   Replacement DIP Secured Parties, the Replacement DIP Liens (as defined below)
                   in all Replacement DIP Collateral (as defined below), as set forth in the Proposed
                   Replacement Interim DIP Order, subject to the Carve-Out and subject to the relative
                   priorities set forth in the Proposed Replacement Interim DIP Order;

         (e)       granting to the Replacement DIP Agent, for the benefit of itself and the other
                   Replacement DIP Secured Parties, allowed super-priority administrative expense
                   claims against each of the Debtors, on a joint and several basis, in respect of all
                   Replacement DIP Obligations, subject in each case to the Carve-Out, as set forth in
                   the Proposed Replacement Interim DIP Order;

         (f)       authorizing the Debtors to use the proceeds of the Replacement DIP Facility, the
                   Replacement DIP Collateral and the Prepetition Secured Notes Collateral (as
                   defined below), including Cash Collateral (as defined below), solely in accordance


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                   with the terms and conditions set forth in the Proposed Replacement Interim DIP
                   Order and the Replacement DIP Loan Documents, including the Approved Budget
                   (as defined below), subject to any variances expressly permitted under the
                   Replacement DIP Term Sheet (the “Permitted Variances”);

         (g)       authorizing the Debtors to irrevocably repay in full all obligations outstanding
                   under that certain Senior Secured Super-Priority Debtor in Possession Loan and
                   Security Agreement, dated as of December 22, 2022, as filed with the Court on
                   December 28, 2022 (Docket No. 188) (as modified, the “Original DIP Credit
                   Agreement” by and among the lenders from time to time party thereto (the
                   “Original DIP Lenders”), the Administrative Agent (as defined therein) (the
                   “Original DIP Agent”), and the postpetition financing facility provided thereby
                   (the “Original DIP Facility”)) with the proceeds from the Replacement DIP
                   Facility as soon as practicable upon funding and terminating all liens granted to the
                   Original DIP Agent and the Original DIP Lenders;

         (h)       granting adequate protection, as and to the extent set forth in the Proposed
                   Replacement Interim DIP Order, to the Prepetition Secured Parties (as in the
                   Proposed Replacement Interim DIP Order) to protect against any Diminution in
                   Value (as defined in the Proposed Replacement Interim DIP Order) of their
                   respective Prepetition Notes Liens (as in the Proposed Replacement Interim DIP
                   Order) in the Prepetition Secured Notes Collateral (including Cash Collateral);

         (i)       approving certain stipulations, waivers, and releases by the Debtors with respect to,
                   inter alia, the Replacement DIP Secured Parties, the Replacement DIP Loan
                   Documents, the Replacement DIP Liens, the Replacement DIP Obligations and the
                   Replacement DIP Collateral, in each case, subject to the terms and provisions of
                   the Proposed Replacement Interim DIP Order;

         (j)       approving the Debtors’ waiver of the right to surcharge the Replacement DIP
                   Collateral as to the Replacement DIP Secured Parties, pursuant to section 506(c) of
                   the Bankruptcy Code or otherwise, upon the terms set forth in the Proposed
                   Replacement Interim DIP Order;

         (k)       approving the Debtors’ waiver of the equitable doctrine of “marshaling” and other
                   similar doctrines with respect to the Replacement DIP Collateral as to the
                   Replacement DIP Secured Parties;

         (l)       modifying or vacating the automatic stay imposed by sections 105(a) and 362 of
                   the Bankruptcy Code or otherwise, to the extent necessary, required or desirable to
                   implement and effectuate the terms and provisions of the Proposed Replacement
                   Interim DIP Order and the Replacement DIP Loan Documents, as set forth herein,
                   waiving any applicable stay (including under Bankruptcy Rule 6004) with respect
                   to the effectiveness and enforceability of the Proposed Replacement Interim DIP
                   Order, providing for the immediate effectiveness of the Proposed Replacement
                   Interim DIP Order, and granting related relief; and



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          (m)      scheduling a final hearing (the “Final Hearing”) on the Motion to consider entry
                   of an order (the “Replacement Final DIP Order”) authorizing the relief requested
                   in the Motion on a final basis, which order shall be in form and substance and on
                   terms and conditions reasonably acceptable in all respects to the Replacement DIP
                   Lender and Replacement DIP Agent in accordance with the Replacement DIP Term
                   Sheet, and approving the form of notice with respect to such Final Hearing.

                               Summary of Terms of Replacement DIP Facility4

                   9.          In accordance with Rules 4001(b)-(d) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and the Procedures for Complex Cases in the Southern

District of Texas (the “Complex Case Procedures”), as incorporated by Rule 1075-1 of the

Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”), the

below chart summarizes the significant terms of t h e Proposed Replacement Interim DIP Order

and the Replacement DIP Facility. Any capitalized terms used herein but not defined shall be used

as defined in the Commitment Letter or the Replacement DIP Term Sheet, as applicable.

                                       MATERIAL TERMS                                                  LOCATION
                                                                                                      Proposed
                                                                                                      Replacement
                          Core Scientific, Inc., Core Scientific Acquired Mining LLC, Core
                                                                                                      Interim DIP
                          Scientific Operating Company, Core Scientific Specialty Mining
    Borrower                                                                                          Order
                          (Oklahoma) LLC, American Property Acquisition, LLC, American
    Bankruptcy Rule                                                                                   Preamble
                          Property Acquisitions I, LLC, American Property Acquisition VII, LLC,
    4001(c)(1)(B)
                          Radar Relay, Inc., Starboard Capital LLC, RADAR LLC and Core
                                                                                                      Replacement
                          Scientific Mining LLC. (the “Borrowers”)
                                                                                                      DIP Term
                                                                                                      Sheet - #1.
                          Core Scientific Acquired Mining LLC, Core Scientific Operating
    Guarantors                                                                                        Proposed
                          Company, Core Scientific Specialty Mining (Oklahoma) LLC, American
    Bankruptcy Rule                                                                                   Replacement
                          Property Acquisition, LLC, American Property Acquisitions I, LLC,
    4001(c)(1)(B)                                                                                     Interim DIP
                          American Property Acquisition VII, LLC, Radar Relay, Inc., Starboard


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    This summary is qualified in its entirety by reference to the applicable provisions of the Replacement DIP
    Documents. To the extent there exists any inconsistency between this summary and the provisions of the
    Replacement DIP Documents or the Replacement DIP Orders, the provisions of the Replacement DIP Documents
    or the Replacement DIP Orders, as applicable, shall control. Any capitalized terms used but not otherwise defined
    in these summaries shall have the respective meanings ascribed to such terms in the Replacement DIP Documents
    and/or the Replacement Interim DIP Order, as applicable. The Debtors reserve the right to supplement the
    statements made pursuant to Bankruptcy Rule 4001 and Local Rule 4001–2 herein.
    Furthermore, certain Replacement DIP Documents have not yet been finalized as of the time of filing of this Motion.
    Accordingly, the summaries reflect the current state of the relevant provisions and are subject to change.




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                                        MATERIAL TERMS                                                 LOCATION
                          Capital LLC, RADAR LLC and Core Scientific Mining LLC. and any               Order,
                          future subsidiaries of Core Scientific, Inc. that become debtors in the      Preamble.
                          Chapter 11 Cases (the “DIP Guarantors”)
                                                                                                       Replacement
                                                                                                       DIP Term
                                                                                                       Sheet - #2
 Initial DIP
                                                                                                       Replacement
 Lender
                          B. Riley Commercial Capital, LLC                                             DIP Term
 Bankruptcy Rule
                                                                                                       Sheet - #3
 4001(c)(1)(B)
 DIP Agent                                                                                             Replacement
 Bankruptcy Rule          B. Riley Commercial Capital, LLC                                             DIP Term
 4001(c)(1)(B)                                                                                         Sheet - #3
                          Replacement DIP Facility to include a non-amortizing super-priority
                          senior secured term loan facility in an aggregate principal amount not to
                          exceed $70 million consisting of up to $70 million in term loan
                          commitments, of which (1) $35 million will be available to the Borrowers
                          in a single draw of Replacement DIP Loans following the entry of the
                          Proposed Replacement Interim DIP Order and prior to the entry of the
                          Replacement Final DIP Order (the “Initial Draw”) and (2) following entry
                          of the Replacement Final DIP Order, the remaining amount of the then         Proposed
                          undrawn Replacement DIP Facility shall be available to the Debtors (the      Replacement
 DIP Facility and         “Other Draws”), in each case in accordance with and ssubject to              Interim DIP
 Borrowing Limits         compliance with the terms, conditions and covenants described in             Order,
 Bankruptcy Rule          Replacement DIP Term Sheet and in the DIP Documents (the Replacement         Preamble.
 4001(c)(1)(B)            DIP Lender’s commitments under the Replacement DIP Facility being the
                          “Replacement DIP Commitments” and the loans under the Replacement            Replacement
                          DIP Facility being the “Replacement DIP Loans”).                             DIP Term
                                                                                                       Sheet - #4-6
                          The Replacement DIP Facility shall be used to permanently decrease the
                          Replacement DIP Commitments and Replacement DIP Loans repaid
                          (for any reason) may not be reborrowed unless (and solely to the
                          extent that) they are repaid prior to the entry of the Replacement
                          Final DIP Order.

                          The Debtors have prepared and delivered to the Replacement DIP Secured
                          Parties the initial itemized cash flow forecast set forth on Exhibit 4
                          attached hereto, which has been approved by the Replacement DIP Lender
                          (the “Initial Budget,” as amended, supplemented or updated by the
                          Debtors, and approved by the Replacement DIP Lender, from time to time
                          in accordance with the terms of the Proposed Replacement Interim DIP         Proposed
                          Order and the Replacement DIP Term Sheet or Replacement DIP Credit           Replacement
                          Agreement, as applicable, the “Approved Budget”), reflecting, on a line      Interim DIP
 Budget
                          item, cumulative and aggregate basis, the Debtors’ projected cash receipts   Order, ¶ H,
 Bankruptcy Rule
                          expected to be collected, and necessary disbursements and expenditures
 4001(c)(1)(B)
                          (including debt service costs) expected to be incurred or made, by the       Replacement
                          Debtors for each calendar week during the period from the calendar week      DIP Term
                          ending on the Friday of the week in which the Court enters the Proposed      Sheet #13, 22
                          Replacement Interim DIP Order through and including the week ending
                          June 30, 2023. The Initial Budget is an integral part of the Proposed
                          Replacement Interim DIP Order, and the Replacement DIP Secured Parties
                          are relying, in part, upon the Debtors’ agreement to comply with the
                          Approved Budget (subject to Permitted Variances) in determining to enter


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                                        MATERIAL TERMS                                                  LOCATION
                          into the Replacement DIP Facility and to allow the Debtors’ use of
                          proceeds of the Replacement DIP Facility in accordance with the terms of
                          the Proposed Replacement Interim DIP Order and the Replacement DIP
                          Loan Documents.

                          The Initial Budget is attached to the Proposed Replacement Interim DIP
                          Order as Exhibit 4.
                          The “Applicable Rate” on the Replacement DIP Facility is 10% per
                          annum, payable in kind in arrears on the first day of each month.

                          The Default Rate with respect to the Replacement DIP Loans is the
                          Applicable Rate plus 2.00% per annum.
 Interest Rate
                                                                                                        Replacement
 Bankruptcy Rule
                          As of the occurrence of, and at all times during the continuance of, any      DIP Term
 4001(c)(1)(B)
                          Insolvency Proceeding with respect to any Obligor, or any other Event of      Sheet - #9
                          Default (including if any Loans or other Obligations (or portion thereof)
                          shall remain unpaid as of the Termination Date), all outstanding Loans and
                          overdue Obligations shall automatically accrue interest at the Default Rate
                          (whether before or after any judgment), until Full Payment thereof.
                          Monthly Replacement DIP Agent Fee. $75,000 per month payable, in cash
                          advance, to the Replacement DIP Agent for its sole account and benefit,
                          on the Closing Date and the first business day of each calendar month
                          thereafter.


                          Upfront Premium. 3.50% (paid-in-kind) of Replacement DIP Loans under
                          the Replacement DIP Facility, accrued and earned on the date upon entry
                          of the Proposed Replacement Interim DIP Order.


                          Extension Fee. 3.50% in cash of the aggregate loans outstanding on the
                          date the Borrowers extend the Maturity Date of all obligations under the
                                                                                                        Proposed
                          Replacement DIP Facility by an additional three (3) months.
                                                                                                        Replacement
                                                                                                        Interim DIP
 Expenses and
                                                                                                        Order, ¶ 2.
 Fees                     Exit Premium. Following the entry of the Proposed Replacement Interim
 Bankruptcy Rule          DIP Order, upon and concurrently with the repayment or satisfaction of
                                                                                                        Replacement
 4001(c)(1)(B)            the Replacement DIP Loans in whole or in part, the Borrowers shall pay
                                                                                                        DIP Term
                          to the Replacement DIP Agent, in cash, 5.00% of the amount of the
                                                                                                        Sheet - #10 -
                          Replacement DIP Loans being repaid, reduced or satisfied.
                                                                                                        11

                          In addition to the above fees, the Proposed Replacement Interim DIP Order
                          provides that the Replacement DIP Loan Parties are authorized and
                          directed to pay any and all (i) amounts due (or that may become due) in
                          respect of any and all indemnification obligations under the Replacement
                          DIP Loan Documents, and (ii) any other amounts payable in connection
                          with the Replacement DIP Facility and the Prepetition Secured Notes,
                          including the payment of all out-of-pocket costs, expenses and
                          disbursements of the Replacement DIP Secured Parties and Prepetition
                          Secured Parties, including the reasonable and documented fees and
                          expenses of (A)(1) Choate, Hall & Stewart LLP (“Choate”), as counsel to
                          the Replacement DIP Secured Parties and (2) any other professionals that


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                                           MATERIAL TERMS                                                  LOCATION
                          may be retained by the Replacement DIP Lender (with the consent of the
                          Replacement DIP Borrowers, such consent not to be unreasonably
                          withheld or delayed, which consent of the Replacement DIP Borrowers
                          shall not be required after the occurrence of a DIP Termination Event (as
                          defined below) (collectively, the “DIP Professional Fees and
                          Expenses”)) and (B) the Noteholder Professional Fees and Expenses (as
                          defined in the section “Liens, Cash Payments or Adequate Protection
                          Provided for Use of Cash Collateral” below).
                          The Maturity Date shall be the earliest of:

                                 i.   the date that is twelve (12) months after the Petition Date;
                                      provided, that the Borrowers shall be permitted to extend such
                                      date by three (3) months upon paying the DIP Agent the
                                      Extension Fee, in cash (any such date being the “Scheduled
                                      Maturity Date”)
                                ii.   the effective date of any chapter 11 plan of reorganization with
                                      respect to the Borrowers or any other Debtor (a “Plan”);
                               iii.   the consummation of any sale or other disposition of all or
                                      substantially all of the assets of the Debtors pursuant to
 Maturity Date;                       section 363 of the Bankruptcy Code;
 Duration for Use
                               iv.    the date of the acceleration of the DIP Loans and the termination    Replacement
 of Replacement
                                      of the DIP Commitments in accordance herewith or with the            DIP Term
 DIP Collateral
                                      DIP Documents;                                                       Sheet - #7
 Bankruptcy Rule
 4001(c)(1)(B)                  v.    the date of the DIP Agent’s written notice to the Borrowers of
                                      the occurrence of an Event of Default (as defined below) under
                                      the DIP Facility;
                               vi.    dismissal of the Chapter 11 Cases or conversion of the Chapter
                                      11 Cases into cases under chapter 7 of the Bankruptcy Code;
                                      and
                           vii.       30 days after the date on which the Motion is filed (or such later
                                      date as agreed to by the DIP Agent), unless the Replacement
                                      Final DIP Order has been entered by the Bankruptcy Court on
                                      or prior to such date (such earliest date, the “DIP Termination
                                      Date”).
                          Voluntary Prepayments: The Replacement DIP Loans may be prepaid at
                          any time, after entry of the Replacement Final DIP Order, subject to
                          payment of the Exit Premium provided, that, any Replacement DIP Loans
                          voluntarily prepaid prior to the Final Order may be re-drawn after entry
                          into the Final Order.

 Prepayments              Mandatory Prepayments: Mandatory prepayment of the Replacement DIP               Replacement
 Bankruptcy Rule          Loans together with all previously uncapitalized interest then accrued and       DIP Term
 4001(c)(1)(B)            owing on such portion of the Replacement DIP Loan then being prepaid,            Sheet - #15
                          including any Exit Premium shall be required from:

                          1. Net proceeds from any sale, sale/leaseback, sublease of any real estate
                             (or interests therein) identified in the Replacement DIP Term Sheet;
                             and




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                                          MATERIAL TERMS                                                    LOCATION
                          2. Any Excess Cash (meaning any cash on hand (other than in the Carve-
                             out Account)) in excess of $50 million as at the last day of each month,
                             such prepayment being required on the fifth (5th) Business Days of
                             each calendar month.

                          Such prepayments, in each case, shall be applied first to any previously
                          uncapitalized interest then accrued and owing on such portion of the
                          Replacement DIP Loan then being prepaid, second, to payment of any Exit
                          Premium, third, to any accrued and unpaid fees and expenses owing to the
                          Replacement DIP Agent or the Replacement DIP Lenders which are then
                          due and owing and fourth, to the unpaid principal amount of the
                          Replacement DIP Loans then outstanding.
                          The closing and the obligation of the Replacement DIP Lender to make
                          the Initial Draw includes usual and customary for financings of this type,
                          including, among other things:

                               (a)   entry of the Interim Order, which order shall not be stayed or
                                     subject to appeal;

                               (b)   delivery of the Initial Budget and any subsequent Budget as
                                     applicable;

                               (c)   the payment in full of the obligations under, and the termination
                                     of, the Existing DIP Credit Agreement (as defined below) and the
                                     inclusion in the Interim Order of provisions terminating all liens
                                     granted to the agent and lenders thereunder effective as of the
                                     date of the Proposed Replacement Interim DIP Order;

                               (d)   customary stipulations by the Debtors and their estates
                                     disclaiming the existence of any claims or causes of action
                                     against each of the DIP Agent and DIP Lender, subject to a
 Conditions to
                                     customary challenge period by the official committee of                Replacement
 Closing
                                     unsecured creditors; and                                               DIP Term
 Bankruptcy Rule
                                                                                                            Sheet - #17, 18
 4001(c)(1)(B)
                               (e)   delivery by the Debtors of the notice of intent to terminate
                                     referenced in section 6(b)(ii) of the Restructuring Support
                                     Agreement dated as of December 22, 2022 entered into between
                                     the Debtors and the Consenting Creditors (as defined therein) (the
                                     “RSA”) to the Ad Hoc Group Advisors (as defined in the RSA)
                                     (it being agreed that a copy of such notice shall have been
                                     provided to the Replacement DIP Agent for its review and
                                     reasonable comment prior to the Debtors’ delivery thereof, as
                                     well as a final copy of such notice as so delivered by the Debtors).

                          The right of the Loan Parties to request, and the obligation of the DIP
                          Lenders to advance, any Other Draws, shall also be subject to certain
                          closing conditions, including, but not limited to:

                               (a)   execution and delivery of a credit agreement (the “DIP Credit
                                     Agreement”) and other Replacement DIP Documents
                                     evidencing the Replacement DIP Facility, in each case, which
                                     shall be in form and substance substantially consistent with the
                                     Term Sheet and otherwise in form and substance acceptable to


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                                           MATERIAL TERMS                                                      LOCATION
                                      the Replacement DIP Agent and the Replacement DIP Lender
                                      and the Borrowers and the Guarantors;

                               (b)    not later than 30 days following the date on which a motion to
                                      approve the Replacement DIP Facility is filed, the Proposed
                                      Replacement Final DIP Order as to the Replacement DIP
                                      Facility shall have been entered by the Bankruptcy Court, which
                                      the Proposed Replacement Final DIP Order shall be in the form
                                      of the Interim Order with such changes as are customary for a
                                      final order and such other changes as the DIP Agent may
                                      reasonably require and/or the parties may mutually agree, in all
                                      cases, to be acceptable to the Replacement DIP Agent; and

                               (c)    The RSA shall have been fully terminated and shall be of no
                                      further force or effect.

                                                                                                               Proposed
                                                                                                               Replacement
 Superpriority            Subject to the Carve Out, the Replacement DIP Agent and Replacement                  Interim DIP
 Expense Claims           DIP Lenders are granted DIP Superpriority Claims granted on account of               Order, ¶ 7.
 Bankruptcy Rule          all Replacement DIP Obligations
 4001(c)(1)(B)(i)                                                                                              Replacement
                                                                                                               DIP Term
                                                                                                               Sheet - #23
                          Subject to the Carve-Out, all Replacement DIP Obligations in respect of
                          the Replacement DIP Facility shall be:

                                 1.   secured, pursuant to Section 364(c)(2) of the Bankruptcy Code,
                                      by a valid, enforceable, fully perfected and automatic first
                                      priority lien on all property and assets (or interests therein) of the
                                      Borrowers’ and the Guarantors’ estates (whether tangible,
                                      intangible, real, personal or mixed and wherever located) as of
                                      the Petition Date that, as of the Petition Date, was unencumbered
                                      (the “First Priority DIP Collateral”); including, without
                                      limitation, all real property and the facility located in Marble,
                                      North Carolina; and                                                      Proposed
                                                                                                               Replacement
 Collateral and
                                                                                                               Interim DIP
 Priority                        2.   secured, pursuant to Section 364(c)(3) of the Bankruptcy Code,
                                                                                                               Order, ¶ 6.
 Bankruptcy Rule                      by a valid, enforceable, fully perfected and automatic junior
 4001(c)(1)(B)(i),                    priority lien on all property (or interest therein) of the Borrowers’
                                                                                                               Replacement
 4001(c)(1)(B)(ii)                    and Guarantors’ estates (whether tangible, intangible, real,
                                                                                                               DIP Term
                                      personal or mixed and wherever located) as of the Petition Date
                                                                                                               Sheet - #16
                                      that (and subject and junior only to that):

                                          a.   is subject to valid, perfected, and nonavoidable liens in
                                               existence as of the Petition Date (including mortgages,
                                               mechanics’ liens and fixture filings disclosed to the
                                               Replacement DIP Agent and the Replacement DIP
                                               Lender); limited, with respect to all real property and the
                                               facilities, to those located in:

                                                     i. Calvert City, Kentucky;



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                                         MATERIAL TERMS                                                     LOCATION
                                                  ii. Grand Forks, North Dakota;

                                                 iii. Muskogee, Oklahoma;

                                                  iv. Barstow, Texas (Cedarvale);

                                                  v. Pecos, Texas (Cottonwood); and

                                                  vi. Dalton, Georgia; and

                                        b.   is subject to valid liens in existence on the Petition Date
                                             that are perfected subsequent to the Petition Date as
                                             permitted by Section 546(b) of the Bankruptcy Code
                                             (this clause (2) being collectively, the “Second Priority
                                             DIP Collateral” and together with the First Priority DIP
                                             Collateral, the “Replacement DIP Collateral”);
                                             provided, however, that any Replacement DIP Liens (as
                                             defined below) in already encumbered collateral shall be
                                             junior to any adequate protection liens granted to
                                             existing creditors secured by such collateral.

                               3.   upon entry of the Final Order, the proceeds of any causes of
                                    actions for preferences, fraudulent conveyances, and other
                                    avoidance power claims under sections 502(d), 544, 545, 547,
                                    548, and 550 of the Bankruptcy Code (the “Avoidance Actions”)
                                    (but not, for the avoidance of doubt, the Avoidance Actions
                                    themselves), and

                               4.   any and all rents, issues, products, offspring, proceeds, and profits
                                    generated by any item of DIP Collateral, without the necessity of
                                    any further action of any kind or nature by the Replacement DIP
                                    Agent or the Replacement DIP Lender in order to claim or perfect
                                    such rents, issues, products, offspring, proceeds, and/or profits.

                          The DIP Liens shall be subject to the following priorities (subject in each
                          case to the Carve-Out):

                               1.   First-Priority Liens on Unencumbered Property. Pursuant to
                                    section 364(c)(2) of the Bankruptcy Code, the DIP Liens shall be
                                    valid, binding, continuing, enforceable, non-avoidable, fully and
                                    automatically perfected first-priority liens and security interests
                                    in all First-Priority DIP Collateral (the “Frist-Priority DIP
                                    Liens”), which First-Priority DIP Liens shall be junior and
                                    subordinated only to the Carve-Out.

                               2.   Liens Junior to Certain Other Liens. Pursuant to sections
                                    364(c)(3) of the Bankruptcy Code, the DIP Liens shall be valid,
                                    binding, continuing, enforceable, non-avoidable, fully and
                                    automatically perfected liens and security interests in all Junior-
                                    Priority DIP Collateral (the “Junior-Priority DIP Liens”), which
                                    Junior-Priority DIP Liens in such Junior Priority DIP Collateral
                                    shall be subject only to the (a) Carve-Out, in all respects, and, as
                                    applicable (b)(1) the Prior Senior Liens, (2) the Equipment


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                                         MATERIAL TERMS                                                   LOCATION
                                    Lender Adequate Protection Liens, (3) the Prepetition Notes
                                    Liens, and (4) the Noteholder Adequate Protection Liens.

                          The liens securing the Replacement DIP Facility (the “Replacement DIP
                          Liens”) shall mean the liens described above. The Replacement DIP Liens
                          described herein shall, to the fullest extent permitted by applicable law, be
                          effected and perfected upon entry of the Proposed Replacement Interim
                          DIP Order and without the necessity of the execution of mortgages,
                          landlord agreements, security agreements, pledge agreements, control
                          agreements, financing statements or other agreements.

                          Affirmative Covenants: Usual and customary affirmative covenants for
                          financings of this type including stipulations to, among other things:
                               1.   Permitting Administrative Agent to inspect properties of the
                                    Debtor;

                               2.   Keep adequate records and books of account with respect to its
                                    business activities and furnish same to Administrative Agent;

                               3.   Provide notice of certain legal and pending legal actions against
                                    the Debtors;

                               4.   Comply will all Applicable Laws;

                               5.   Continue paying obligations and taxes and comply with
                                    applicable law in all material respects;

                               6.   Maintain satisfactory insurance;

                               7.   Keep each License affecting any collateral;
 Covenants                                                                                                Replacement
 Bankruptcy Rule               8.   Deliver updated budgets, cash flow forecasts, and variance            DIP Term
 4001(c)(1)(B)                      reports;                                                              Sheet - #20, 21

                               9.   the Loan Parties and the Replacement DIP Agent agree to discuss
                                    in good faith with potential providers thereof and the
                                    Replacement DIP Agent an agreement to provide for forward
                                    sales or hedging agreements with respect to the Loan Parties’
                                    Bitcoin present and anticipated Bitcoin inventory; and

                               10. the Loan Parties shall covenant and agree to timely and diligently
                                   pursue and prosecute the termination of the RSA and to take such
                                   actions as are required pursuant to the terms of the RSA to effect
                                   the such termination by a date no later than the date the
                                   Replacement Final DIP Order is entered.
                          Negative Covenants: Usual and customary negative covenants for
                          financings of this type including stipulations to not, among other things,
                          other than in accordance with the Replacement DIP Loan Agreement:
                               1.   Incur, create, assume, or permit indebtedness generally except
                                    Permitted Debt;




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                                         MATERIAL TERMS                                                     LOCATION
                               2.   Create, incur, assume, or permit existence of any liens on any
                                    property or assets, except for Permitted Liens;

                               3.   Declare or make any Distributions, except as permitted under the
                                    Replacement DIP Loan Agreement;

                               4.   Make any Restricted Investment;

                               5.   Make any Asset Disposition, except a Permitted Asset
                                    Disposition;

                               6.   Make any payment or any Creditor Distribution with respect to
                                    any Debt, except payments to the extent permitted by, and made
                                    in accordance with, the Approved Budget or Replacement DIP
                                    Order;

                               7.   The Loan Parties shall not take, participate or support any action,
                                    motion or claim to rescind its termination of, or to continue or
                                    reinstate the RSA, or shall cease or fail to take the actions
                                    specified in Affirmative Covenant 10 above; and

                               8.   It is agreed that such covenants will permit (a) sales of (i) Bitcoin
                                    in the ordinary course and (ii) non-core assets (it being agreed
                                    that non-core assets shall NOT include the Debtors’ real estate
                                    listed in Section 16 of the Replacement DIP Term Sheet) and,
                                    with the Replacement DIP Agent’s prior consent, the Debtors’
                                    real estate listed in Section 16 of the Replacement DIP Term
                                    Sheet, so long as, in each case, net proceeds (including reductions
                                    to satisfy claims of other lienholders with respect to such assets
                                    including amounts to be escrowed or otherwise required to be
                                    held back or segregated by the Bankruptcy Court) thereof are
                                    used to repay the Replacement DIP Obligations (including any
                                    applicable Exit Premium) and (b) (i) transactions with respect to
                                    miners and equipment in the ordinary course of business and (ii)
                                    subject to the consent of the Replacement DIP Agent (subject to
                                    thresholds to be agreed) (x) the ability to reject or modify
                                    contracts, and (y) settlements of litigation.
                          Usual and customary financial covenants for financings of this type
                          including stipulations to, among other things:
                               (a) Comply with budget and variance covenants; and

                               (b) Not incur payment obligations or make payment disbursement
                                   unless in compliance with the Approved Budget, in compliance
                                   with the liquidity and budget covenants, and no Event of Default
                                   exists or arises at such time.
                          Usual and customary events of default for financings of this type,
 Events of Default        including but not limited to:                                                     Replacement
 Bankruptcy Rule               (a) the entry of the Replacement Final DIP Order shall have not              DIP Term
 4001(c)(1)(B)                     occurred within 30 days after the date the Motion is filed;              Sheet - #26




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                                         MATERIAL TERMS                                                     LOCATION
                               (b) The failure to pay principal, interest and other amounts when and
                                   as required by the Replacement DIP Loan Agreement, subject to
                                   certain grace periods, as applicable;

                               (c) Any representation or warranty being incorrect when made by or
                                   on behalf of any Obligor in connection with any Loan Document
                                   in a material respect;

                               (d) the entry of an order in any of the Chapter 11 Cases granting
                                   relief from any stay or proceeding (including, without limitation,
                                   the automatic stay) so as to allow a third party to proceed with
                                   foreclosure against any material assets of the Loan Parties to
                                   which the fair market value of which exceeds $20,000,000;
                                   provided, however, that any such order with respect to the assets
                                   of either (x) BlockFi Lending LLC (“BlockFi”) or (y) NYDIG or
                                   their affiliates (so long as (i) relating solely to such equipment
                                   provided by such party, or in the case of BlockFi, the debt owing
                                   to BlockFi pursuant to its agreements as in effect prior to the
                                   Petition Date and (ii) such arrangement shall not result in the
                                   improvement or enhancement of such party’s claims in the
                                   Chapter 11 Cases or security or priority position with respect to
                                   any of the Debtors’ collateral) shall not be an Event of Default;
                                   and

                               (e) The RSA is not fully and finally terminated and/or has not ceased
                                   to be in full force and effect on or prior to the date upon which
                                   the Final Order is to be entered;
                          None.
 Milestones                                                                                                 Replacement
 Bankruptcy Rule          The Final Replacement DIP Order must be entered into by no later than 30          DIP Term
 4001(c)(1)(B)(vi)        days following the filing of the Motion.                                          Sheet - #18, 27

                          Equal to the sum of:

                          (i) all fees required to be paid to the clerk of the Court and to the U.S.
                          Trustee plus interest at the statutory rate;

                          (ii) all reasonable and documented fees and expenses, in an aggregate
                          amount not to exceed $50,000, incurred by a trustee;                              Proposed
                                                                                                            Replacement
                          (iii) to the extent allowed at any time, whether by interim order, final order,   Interim DIP
 Carve Out
                          or other order, all accrued but unpaid fees and expenses (excluding any           Order, ¶ 22.
 Bankruptcy Rule
                          restructuring, sale, success, or other transaction fee of any investment
 4001(b)(1)(B)(iii)
                          bankers or financial advisors) (the “Allowed Professional Fees”) incurred         Replacement
                          by persons or firms retained by the Debtors pursuant to section 327, 328,         DIP Term
                          or 363 of the Bankruptcy Code (the “Debtor Professionals”) and the                Sheet - #25
                          Committee pursuant to section 328 or 1103 of the Bankruptcy Code (the
                          “Committee Professionals”, and together with the Debtor Professionals,
                          the “Professional Persons”) at any time on or before the date of delivery
                          by the Replacement DIP Agent (at the instruction of the Replacement DIP
                          Lender) of a Carve Out Notice (as defined below), whether allowed by the
                          Court prior to or after delivery of a Carve Out Notice (the amounts set



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                                         MATERIAL TERMS                                                      LOCATION
                          forth in the foregoing clauses (i), (ii) and (iii), the “Pre-Carve Out Notice
                          Amount”); and

                          (iv) Allowed Professional Fees of Professional Persons incurred after the
                          date of delivery by the Replacement DIP Agent (at the instruction of the
                          Replacement DIP Lender) of the Carve Out Notice, to the extent allowed
                          at any time, whether by interim order, final order, or other court order, in
                          an aggregate amount not to exceed $2.0 million (the amount set forth in
                          this clause (iv) being the “Post-Carve Out Notice Amount”, and together
                          with the Pre-Carve Out Notice Amount, the “Carve Out Amount”).

                          The proceeds of the Replacement DIP Facility shall be used only for the
                          following purposes and, in the case of payments pursuant to clauses (ii),
                          (iii), and (iv) below, subject to the Budget, the Carve-Out and any
                          permitted variances as set forth below

                          i.        Payment in full of the obligations under that certain senior
                          secured super-priority debtor-in-possession loan and security agreement,
                          dated as of December 22, 2022 (the “Existing DIP Credit Agreement”),
                          among the Borrowers, the lenders party thereto from time to time and
                          Wilmington Savings Fund Society, FSB, as administrative agent,
                          including, without limitation, any fees, premiums, costs or expenses
                          related thereto; it being agreed that such amounts shall be payable from
                          the Borrowers’ existing cash at such time (including the Initial Draw);

                          ii.    working capital and other general corporate purposes of the                 Replacement
 Terms of Use and         Borrowers and the Guarantors and certain subsidiaries;                             DIP Term
 Purposes for Use
                                                                                                             Sheet - #13
 of DIP Proceeds
                          iii.    any adequate protection payments in accordance with the
 and Cash
                          Proposed DIP Orders;                                                               Proposed
 Collateral
                                                                                                             Replacement
 Bankruptcy Rule
                          iv.      professional fees and expenses of administering the Chapter 11            Interim DIP
 4001(c)(1)(B)
                          Cases, to the extent the Bankruptcy Court authorizes payment (including            Order, ¶ 24.
                          fees incurred prior to the Closing Date);

                          v.       fees and expenses payable under the DIP Facility;

                          vi.      interest and other amounts payable under the DIP Facility; and

                          vii.     funding of the Carve-out Account.

                          Proceeds of the Replacement DIP Loans and Cash Collateral may not be
                          used for certain enumerated purposes that are contrary to the rights and
                          interests of the Prepetition Secured Parties and Replacement DIP Secured
                          Parties (e.g., for investigations and litigation against such parties, incurring
                          indebtedness without prior consent of the Replacement DIP Agent, etc.).

 Parties with an                                                                                             Proposed
 Interest in Cash                                                                                            Replacement
 Collateral               Prepetition Secured Parties                                                        Interim DIP
 Bankruptcy Rule                                                                                             Order, ¶ 12.
 4001(b)(1)(B)(i)



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                                        MATERIAL TERMS                                                     LOCATION
                           Adequate Protection to Prepetition Secured Parties. The Prepetition
                           Secured Parties are entitled, pursuant to sections 361, 362, 363(e),
                           364(d)(1) and 507 of the Bankruptcy Code, to adequate protection of their
                           Prepetition Liens in Prepetition Collateral (including Cash Collateral), as
                           follows (the liens, security interests, payments and other obligations set
                           forth in paragraph Error! Reference source not found. of the
                           Proposed Replacement Interim DIP Order are collectively referred to
                           herein as the “Noteholder Adequate Protection Obligations”):

                               a)   Noteholder Adequate Protection Claims. The Prepetition
                                    Agents, for their own benefit and for the benefit of the
                                    Prepetition Secured Noteholders, are hereby granted, in the
                                    amount of any aggregate Diminution in Value of the Prepetition
                                    Liens in the Prepetition Collateral (including Cash Collateral)
                                    from and after the Petition Date, superpriority administrative
                                    expense claims contemplated by section 507(b) of the
                                    Bankruptcy Code against each of the Debtors (the “Noteholder
                                    Adequate Protection Claims”), which shall be payable by each
                                    of the Debtors on a joint and several basis, and shall have
                                    recourse to all Replacement DIP Collateral. The Noteholder
                                    Adequate Protection Claims shall be (a) subject and subordinate
 Liens, Cash                        only to the Carve Out and the DIP Superpriority Claims, (b) pari
 Payments or                        passu with the Equipment Lender Adequate Protection Claims
                                    (as defined below), and (c) senior to any and all other                Proposed
 Adequate
                                    administrative expense claims and all other claims against the         Replacement
 Protection
                                    Debtors and their estates, now existing or hereafter arising, of       Interim DIP
 Provided for Use
                                    any kind or nature whatsoever.                                         Order, ¶ 10,
 of Collateral and
                                                                                                           11, 42.
 Cash Collateral
 Bankruptcy Rule               b) Noteholder Adequate Protection Liens. The Prepetition Agents,
 4001(b)(1)(B)(iv)                for the benefit of themselves and for the benefit of the
                                  Prepetition Secured Noteholders, are hereby granted, effective
                                  and perfected as of the entry of the Proposed Replacement
                                  Interim DIP Order, and without the necessity of the execution,
                                  recordation or filing by any of the Prepetition Secured Parties of
                                  any pledge, collateral or security documents, mortgages, deeds
                                  of trust, financing statements, notations of certificates of title for
                                  titled goods, or any similar document or instrument, or the taking
                                  of any other action (including entering into any control
                                  agreements or taking possession or control of any Prepetition
                                  Secured Notes Collateral), in the amount of any aggregate
                                  Diminution in Value of the Prepetition Notes Liens in the
                                  Prepetition Secured Notes Collateral (including Cash Collateral)
                                  from and after the Petition Date, valid, binding, enforceable and
                                  automatically perfected postpetition liens and security interests
                                  in all DIP Collateral (the “Noteholder Adequate Protection
                                  Liens”). The Noteholder Adequate Protection Liens shall be (i)
                                  junior and subordinated only to (A) the Carve-Out, (B) the First-
                                  Priority DIP Liens, (C) the Prior Senior Liens, and (D) the
                                  Equipment Lender Adequate Protection Liens in the Prepetition
                                  Equipment Financing Collateral, (ii) pari passu with the
                                  Equipment Lender Adequate Protection Liens in First-Priority
                                  DIP Liens, and (iii) senior to any and all other liens and security



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                                        MATERIAL TERMS                                                   LOCATION
                                    interests in the DIP Collateral, including the Equipment Lender
                                    Adequate Protection Liens.

                               c)   Noteholder Professional Fees and Expenses. The Replacement
                                    DIP Loan Parties are authorized and directed to pay, without the
                                    necessity of filing fee applications with the Court or compliance
                                    with the U.S. Trustee’s fee guidelines, all of the out of pocket
                                    fees, costs and expenses of (i) the Prepetition Agents, including,
                                    the reasonable and documented fees and expenses of Shipman
                                    & Goodwin LLP, counsel to the Prepetition Agents, and (ii) the
                                    fees and expenses of the Ad Hoc Group, including, the
                                    reasonable and documented fees and expenses of (A)Paul
                                    Hastings LLP, as counsel to the Original DIP Lenders and the
                                    Ad Hoc Group and (B) Moelis & Company, LLC (“Moelis”), as
                                    investment banker and financial advisor to the Original DIP
                                    Lenders and the Ad Hoc Group, pursuant to the terms of that
                                    certain letter agreement by and among Core Scientific and
                                    Moelis (collectively, the “Noteholder Professional Fees and
                                    Expenses”)

                               d) Reporting. The Debtors shall contemporaneously provide the
                                  Prepetition Agents and the Ad Hoc Group (and their respective
                                  advisors) with all reports, documents and other information
                                  required to be delivered to the Replacement DIP Secured Parties
                                  under the Replacement DIP Loan Documents and the Proposed
                                  Replacement Interim DIP Order.

                               e)   Cash Management Covenant. The Replacement DIP Loan
                                    Parties shall maintain their cash management arrangements in a
                                    manner consistent with those described in the applicable “first
                                    day” order, which shall be in form and substance reasonably
                                    acceptable to the Replacement DIP Lender and the Ad Hoc
                                    Group.

                          Adequate Protection to Prepetition Equipment Lenders. Pursuant to
                          sections 361, 362, 363(e), 364(d)(1) and 507 of the Bankruptcy Code, as
                          adequate protection of their purported Prepetition Equipment Liens in
                          Prepetition Equipment Collateral, the Prepetition Equipment Lenders shall
                          be entitled to the following:

                               a)   Equipment Lender Adequate Protection Claims.                 The
                                    Prepetition Equipment Lenders are each hereby granted, in the
                                    amount of any aggregate Diminution in Value of the respective
                                    purported Prepetition Equipment Liens in Prepetition
                                    Equipment Collateral (as applicable) from and after the Petition
                                    Date, superpriority administrative expense claims contemplated
                                    by section 507(b) of the Bankruptcy Code against each of the
                                    Debtors (the “Equipment Lender Adequate Protection
                                    Claims,” together with the Noteholder Adequate Protection
                                    Claims, the “Adequate Protection Claims”), which shall be
                                    payable by each of the Debtors on a joint and several basis, and
                                    shall have recourse to all DIP Collateral. The Equipment Lender
                                    Adequate Protection Claims shall be (i) subject and subordinate


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                                        MATERIAL TERMS                                                    LOCATION
                                    only to the Carve-Out, the DIP Superpriority Claims, and the
                                    Noteholder Adequate Protection Claims and (ii) senior to any
                                    and all other administrative expense claims and all other claims
                                    against the Debtors and their estates, now existing or hereafter
                                    arising, of any kind or nature whatsoever.

                               b) Equipment Lender Adequate Protection Liens. The Prepetition
                                  Equipment Lenders are each hereby granted, effective and
                                  perfected as of the entry of the Proposed Replacement Interim
                                  DIP Order, and without the necessity of the execution,
                                  recordation or filing by the Replacement DIP Loan Parties or
                                  any of the Prepetition Equipment Lenders of any pledge,
                                  collateral or security documents, mortgages, deeds of trust,
                                  financing statements, notations of certificates of title for titled
                                  goods, or any similar document or instrument, or the taking of
                                  any other action (including entering into any control agreements
                                  or taking possession or control of any DIP Collateral), in the
                                  amount of any aggregate Diminution in Value of the purported
                                  Prepetition Equipment Liens in the Prepetition Equipment
                                  Financing Collateral (as applicable) from and after the Petition
                                  Date, valid, binding, enforceable and automatically perfected
                                  post-petition liens and security interests in all DIP Collateral (the
                                  “Equipment Lender Adequate Protection Liens,” and together
                                  with the Noteholder Adequate Protection Liens, the “Adequate
                                  Protection Liens”). The Equipment Lender Adequate Protection
                                  Liens shall be (i) junior and subordinated to (A) the Carve-Out,
                                  (B) the First-Priority DIP Liens in First-Priority DIP Collateral,
                                  (C) the Noteholder Adequate Protection Liens in Prepetition
                                  Secured Notes Collateral, and (D) the Prior Senior Liens (other
                                  than the Prepetition Equipment Liens that constitute Prior Senior
                                  Liens), (ii) pari passu with the Noteholder Adequate Protection
                                  Liens in the First-Priority DIP Collateral, and (iii) senior to the
                                  DIP Liens in Prepetition Equipment Financing Collateral (as
                                  applicable) and the Noteholder Adequate Protection Liens in
                                  Prepetition Equipment Financing Collateral (as applicable).

 Determination
                          The Proposed Replacement Interim DIP Order contains stipulations of fact        Proposed
 Regarding
                          by the Debtors, including those related to the validity and enforceability      Replacement
 Prepetition
                          of the Debtors’ prepetition unsecured obligations with the Replacement          Interim DIP
 Claims
                          DIP Lender and secured obligations with respect to the Prepetition Secured      Order, ¶ E, F.
 Bankruptcy Rule
                          Parties.
 4001(c)(1)(B)(iii)
 Liens on                                                                                                 Proposed
 Avoidance                Subject to entry of the Replacement Final DIP Order, the Replacement            Replacement
 Actions                  DIP Agent and the Replacement DIP Lender will receive a lien on the             Interim DIP
 Bankruptcy Rule          proceeds of avoidance actions under chapter 5 of the Bankruptcy Code.           Order, ¶ 6.
 4001(c)(1)(B)(xi)
 Effect of Debtors’       Subject to the Challenge Period, the stipulations, admissions, agreements,
 Stipulations on          and releases contained in the Proposed Replacement Interim DIP Order            Proposed
 Third Parties            shall be binding upon the Debtors, any statutory or non-statutory               Replacement
 Bankruptcy Rule          committees, and all other parties in interest. The “Challenge Period”,          Interim DIP
 4001(c)(1)(B)(iii),      collectively, means the date that is (i) sixty (60) calendar days from the      Order, ¶ 23.
 (viii)                   date of entry of the Proposed Replacement Interim DIP Order, (ii) such


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                                        MATERIAL TERMS                                                   LOCATION
                          later date as has been agreed to in writing by the Replacement DIP Agent
                          (acting at the instruction of the Replacement DIP Lender) and the affected
                          Prepetition Agent (acting at the instruction of the requisite Prepetition
                          Secured Parties under the affected Prepetition Notes Documents), or
                          (iii) such later date as has been ordered by the Court, for cause shown,
                          upon a motion filed with the Court prior to the Initial Challenge Deadline.


                          The automatic stay imposed by section 362(a) of the Bankruptcy Code is
                          hereby vacated and modified, without application to or further order of this
                          Court, to permit: (a) the Replacement DIP Loan Parties to grant the DIP
                          Liens and the DIP Superpriority Claims, and to perform such acts as the
                          Replacement DIP Secured Parties may request to assure the perfection and
                          priority of the DIP Liens, (b) the Replacement DIP Loan Parties to incur
                          all liabilities and obligations to the Replacement DIP Secured Parties as
                          contemplated under the Proposed Replacement Interim DIP Order and the
                          Replacement DIP Loan Documents, (c) the Debtors to grant the Adequate
                          Protection Liens and the Adequate Protection Claims, and to perform such
                          reasonable acts as the Prepetition Agents may reasonably request to assure
                          the perfection and priority of the Adequate Protection Liens, (d) the DIP
                          Loan Parties to incur liabilities and obligations to the Prepetition Secured
                          Parties related to the Adequate Protection Obligations, as contemplated
                          under the Proposed Replacement Interim DIP Order, (e) the Replacement
                          DIP Loan Parties to pay all amounts required hereunder and under the
                          Replacement DIP Loan Documents, (f) the Replacement DIP Secured
                          Parties and the Prepetition Secured Parties to retain and apply payments
                          made in accordance with the terms of the Proposed Replacement Interim
                                                                                                         Proposed
 Waiver or                DIP Order and the DIP Loan Documents (as applicable), (g) subject to
                                                                                                         Replacement
 Modification of          paragraph 20(b) of the Proposed Replacement Interim DIP Order, the
                                                                                                         Interim DIP
 the Automatic            Replacement DIP Secured Parties to exercise, upon the occurrence of any
                                                                                                         Order
 Stay                     DIP Termination Event (as defined below), all rights and remedies
                                                                                                         Preamble ¶ (f),
 Bankruptcy Rule          provided for in the Proposed Replacement Interim DIP Order, the
                                                                                                         15, 16(c),
 4001(c)(1)(B)(iv)        Replacement DIP Loan Documents, or applicable law, (h) the
                                                                                                         20(b).
                          Replacement DIP Loan Parties to perform under the Proposed
                          Replacement Interim DIP Order and the Replacement DIP Loan
                          Documents, and to take any and all other actions that may be necessary,
                          required or desirable for the performance by the Replacement DIP Loan
                          Parties under the Proposed Replacement Interim DIP Order and the
                          Replacement DIP Loan Documents and the implementation of the
                          transactions contemplated hereunder and thereunder, and (i) the
                          implementation of all of the terms, rights, benefits, privileges, remedies,
                          and provisions of the Proposed Replacement Interim DIP Order and the
                          Replacement DIP Loan Documents.

                          The automatic stay shall be modified to the extent necessary to permit the
                          Replacement DIP Agent or the Prepetition Agents to take all actions, as
                          applicable, regarding perfection of Replacement DIP Liens and Adequate
                          Protection Liens.

                          The Replacement DIP Loan Parties shall immediately provide notice to
                          counsel to the Replacement DIP Agent, the Replacement DIP Lender, the
                          Prepetition Agents, and the Ad Hoc Group of the occurrence of any DIP
                          Termination Event. Upon the occurrence of a DIP Termination Event,


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                                        MATERIAL TERMS                                                     LOCATION
                          without further application to or order from the Court, the automatic stay
                          provisions of section 362 of the Bankruptcy Code shall be vacated and
                          modified to the extent necessary to permit the Replacement DIP Agent
                          (acting at the instruction of the Replacement DIP Lender) and/or, with
                          respect to clause (vi) below, the Prepetition Agents (acting at the
                          instruction of the requisite Prepetition Secured Parties under the applicable
                          Prepetition Notes Documents), as applicable, to take any of the following
                          actions, at the same or different time: (i) deliver a written notice (which
                          may be via electronic mail) to lead restructuring counsel for the Debtors,
                          the U.S. Trustee and lead restructuring counsel for the Official Committee
                          (the “Remedies Notice”) declaring the occurrence of a DIP Termination
                          Event (such date, the “DIP Termination Declaration Date”) and/or
                          deliver a Carve-Out Notice, (ii) declare the termination, reduction or
                          restriction of the commitments under the Replacement DIP Facility (to the
                          extent any such commitment remains), (iii) declare all Replacement DIP
                          Obligations to be immediately due and payable, without presentment,
                          demand or protest or other notice of any kind, all of which are expressly
                          waived by the Replacement DIP Loan Parties, (iv) declare the termination
                          of the Replacement DIP Facility and the Replacement DIP Loan
                          Documents as to any further liability or obligation thereunder, but without
                          affecting the DIP Liens, the DIP Superpriority Claims or the Replacement
                          DIP Obligations, (v) declare the reduction or restriction on the
                          Replacement DIP Facility or the Replacement DIP Loan Documents, (vi)
                          declare the termination, restriction or revocation of the ability of the
                          Debtors to use Cash Collateral, (vii) invoke a Cash Dominion Period
                          and/or sweep all cash or other amounts contained in the DIP Funding
                          Account, and (viii) charge interest at the default rate set forth in the
                          Replacement DIP Credit Agreement; provided that following the
                          occurrence of a DIP Termination Event, prior to the exercise or
                          enforcement of any rights against DIP Collateral or Prepetition Secured
                          Notes Collateral (as the case may be), the Replacement DIP Agent (acting
                          at the instruction of the Replacement DIP Lender) and/or the Prepetition
                          Agents (acting at the instruction of the requisite Prepetition Secured
                          Parties under the applicable Prepetition Notes Documents), as applicable,
                          shall be required to file a motion with the Court on five (5) Business Days’
                          notice (subject to the Court’s availability) seeking an emergency hearing
                          (the “Stay Relief Hearing”) to determine whether a DIP Termination
                          Event has occurred (and the Replacement DIP Loan Parties and the
                          Official Committee shall not object to the shortened notice with respect to
                          such Stay Relief Hearing). In the event the Court determines during a Stay
                          Relief Hearing that a DIP Termination Event has occurred, the Court may
                          fashion an appropriate remedy, which may include, inter alia, the exercise
                          of any and all rights or remedies available to the Replacement DIP Secured
                          Parties under the Proposed Replacement Interim DIP Order, the
                          Replacement DIP Loan Documents or applicable law against the DIP
                          Collateral; provided that the Debtors’ rights to contest such relief are
                          expressly preserved.

 Waiver or
                          The limitations on parties’ abilities to file a plan, request cash collateral,
 Modification of
                          or request authority to obtain credit without the consent of the
 Authority to File
                          Replacement DIP Loan Parties or the Prepetition Loan Parties are still
 a Plan, Extend
                          being negotiated. At a minimum, the Debtors may be prohibited from
 Time to File Plan,


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                                         MATERIAL TERMS                                                     LOCATION
 Request Use of           doing so unless they seek financing that will result in Full Payment of all
 Cash Collateral,         Replacement DIP Obligations.
 or Request
 Authority to
 Obtain Credit
 Bankruptcy Rule
 4001(c)(1)(B)(v)
                          DIP Liens. As security for the prompt and complete payment and
                          performance of all Replacement DIP Obligations when due (whether upon
                          stated maturity, prepayment, acceleration, declaration or otherwise),
                          effective and perfected as of the entry of the Proposed Replacement
                          Interim DIP Order, and without the necessity of the execution, recordation
                          or filing by any of the Replacement DIP Loan Parties or the Replacement
                          DIP Secured Parties of any pledge, collateral or security documents,
                          mortgages, deeds of trust, financing statements, notations of certificates of
                          title, or any similar document or instrument, or the taking of any other
                          action (including entering into any control agreements or taking any other
                          action to take possession or control of any DIP Collateral), the
                          Replacement DIP Agent, for the benefit of itself and the Replacement DIP
                          Lender, is hereby granted valid, binding, enforceable, non-avoidable, and
                          automatically and properly perfected liens and security interests
                          (collectively, the “DIP Liens”) in all DIP Collateral, in each case, subject
                          and subordinate to the Carve-Out, and subject to the relative priorities set
                          forth in the Proposed Replacement Interim DIP Order.

 Waiver or                Noteholder Adequate Protection Liens. The Prepetition Agents, for the
 Modification of          benefit of themselves and for the benefit of the Prepetition Secured
 Applicability of         Noteholders, are hereby granted, effective and perfected as of the entry of
                                                                                                            Proposed
 Non-Bankruptcy           the Proposed Replacement Interim DIP Order, and without the necessity
                                                                                                            Replacement
 Law Relating to          of the execution, recordation or filing by any of the Prepetition Secured
                                                                                                            Interim DIP
 the Perfection or        Parties of any pledge, collateral or security documents, mortgages, deeds
                                                                                                            Order, ¶ 6(a);
 Enforcement of a         of trust, financing statements, notations of certificates of title for titled
                                                                                                            10(b); 42(b)
 Lien                     goods, or any similar document or instrument, or the taking of any other
 Bankruptcy Rule          action (including entering into any control agreements or taking
 4001(c)(1)(B)(vii)       possession or control of any Prepetition Secured Notes Collateral), in the
                          amount of any aggregate Diminution in Value of the Prepetition Notes
                          Liens in the Prepetition Secured Notes Collateral (including Cash
                          Collateral) from and after the Petition Date, valid, binding, enforceable
                          and automatically perfected post-petition liens and security interests in all
                          DIP Collateral (the “Noteholder Adequate Protection Liens”).

                          Equipment Lender Adequate Protection Liens. The Prepetition Equipment
                          Lenders are each hereby granted, effective and perfected as of the entry of
                          the Proposed Replacement Interim DIP Order, and without the necessity
                          of the execution, recordation or filing by the Replacement DIP Loan
                          Parties or any of the Prepetition Equipment Lenders of any pledge,
                          collateral or security documents, mortgages, deeds of trust, financing
                          statements, notations of certificates of title for titled goods, or any similar
                          document or instrument, or the taking of any other action (including
                          entering into any control agreements or taking possession or control of any
                          DIP Collateral), in the amount of any aggregate Diminution in Value of
                          the purported Prepetition Equipment Liens in the Prepetition Equipment
                          Financing Collateral (as applicable) from and after the Petition Date, valid,


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                                        MATERIAL TERMS                                                  LOCATION
                          binding, enforceable and automatically perfected post-petition liens and
                          security interests in all DIP Collateral (the “Equipment Lender
                          Adequate Protection Liens,” and together with the Noteholder Adequate
                          Protection Liens, the “Adequate Protection Liens”).

                                                                                                        Proposed
 Release, Waivers
                          Effective as of entry of the Proposed Replacement Interim DIP Order and       Replacement
 or Limitation on
                          subject to paragraph 23 thereof, the Debtors waive and release, inter alia,   Interim DIP
 any Claim or
                          (i) the Prepetition Secured Parties, and (ii) the Replacement DIP Secured     Order,
 Cause of Action
                          Parties, in each case, subject to the terms and provisions of the Proposed    Preamble
 Bankruptcy Rule
                          Replacement Interim DIP Order.                                                ¶¶ E(d); F(e)
 4001(c)(1)(B)(viii)
                                                                                                        34.
                                                                                                        Proposed
 Indemnification          The Replacement DIP Documents and Proposed Replacement Interim DIP            Replacement
 Bankruptcy Rule          Order contain indemnification provisions ordinary and customary for           Interim DIP
 4001(c)(1)(B)(ix)        debtor-in-possession financings of this type.                                 Order, ¶ (2)(c).

                          Except to the extent of the Carve Out, no costs or expenses of
                          administration of the Chapter 11 Cases or any Successor Cases (or any
                          future proceedings that may result therefrom) at any time, including any
                          costs and expenses incurred in connection with the preservation,
                          protection, or enhancement of realization by the Replacement DIP Secured
                          Parties upon the DIP Collateral, respectively, shall be charged against or
                          recovered from the DIP Collateral as to Replacement DIP Secured Parties,
 Section 506(c)                                                                                         Proposed
                          whether pursuant to section 506(c) of the Bankruptcy Code or other similar
 Waiver                                                                                                 Replacement
                          legal or equitable doctrine or otherwise, without the prior written consent
 Bankruptcy Rule                                                                                        Interim DIP
                          of the Replacement DIP Lender with respect to the DIP Collateral, and no
 4001(c)(1)(B)(x)                                                                                       Order, ¶ 26
                          such consent shall be implied, directly or indirectly, from anything
                          contained in the Proposed Replacement Interim DIP Order (including
                          consent to the Carve-Out or the approval of any budget hereunder) or from
                          any other action, inaction, or acquiescence by any of the Replacement DIP
                          Secured Parties to any charge, lien, assessment or claim against the
                          Replacement DIP Secured Parties with respect to the DIP Collateral,
                          whether under section 506(c) of the Bankruptcy Code or otherwise.
                          In no event shall the Replacement DIP Secured Parties be subject to the
                          equitable doctrine of “marshaling” or any similar doctrine with respect to
                          the DIP Collateral or the Replacement DIP Obligations, and all proceeds
                          of DIP Collateral shall be received and applied in accordance with the
 Section 552(b)
                          Proposed Replacement Interim DIP Order, the Replacement DIP Loan              Proposed
 Waiver
                          Documents, as applicable; provided that the Replacement DIP Secured           Replacement
 Bankruptcy Rule          Parties shall use commercially reasonable efforts to first apply all DIP      Interim DIP
 4001(c)(1)(B)            Collateral (other than any proceeds from Avoidance Action), to the extent     Order, ¶ 27.
                          such collateral may promptly be monetized in a commercially reasonable
                          manner, before applying any proceeds from Avoidance Actions to satisfy
                          the DIP Obligations and the Adequate Protection Obligations, as
                          applicable




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                                 Statement Regarding Significant Provisions

                   10.         Pursuant to paragraph 8 of the Complex Case Procedures, the Replacement

DIP Loan Agreement and/or Replacement DIP Orders contain the following provisions

(“Significant Provisions”):

            DIP Facility Term                                          Relief Requested
 Sale or Plan Confirmation Milestones
 Complex Case                               None.
 Procedures ¶ 8(a)
 Cross-Collateralization
                                            The Proposed Replacement Interim DIP Order does not provide for
 Complex Case
                                            cross collateralization.
 Procedures ¶ 8(b)
                                            The Replacement DIP Collateral includes, upon entry of the
                                            Replacement Final DIP Order, any proceeds or property recovered,
                                            unencumbered or otherwise from Avoidance Actions under Chapter 5
                                            of the Bankruptcy Code. Proposed Replacement Interim DIP Order
                                            ¶ 6(b).
                                            Justification. The Debtors submit that granting Replacement DIP Liens
 Liens on Avoidance Actions or              and DIP Superpriority Claims on proceeds and property recovered in
 Proceeds of Avoidance Actions              respect of Avoidance Actions is appropriate because the Replacement
 Complex Case                               DIP Facility and use of Cash Collateral provide the Debtors with new
 Procedures ¶ 8(d)                          money to fund the Debtors’ reorganization and ensure the Debtors are
                                            able to maximize value for their estates. Moreover, the liens were
                                            required by the Replacement DIP Lenders as a condition to extending
                                            credit, and by the Prepetition Secured Parties as a condition to
                                            permitting use of cash collateral. The Debtors respectfully submit that
                                            granting liens on Avoidance Proceeds is an appropriate under these
                                            circumstances because it is subject to a final order and will allow parties
                                            in interest the opportunity to object.
                                            The Proposed Replacement Interim DIP Order provides for certain
                                            Events of Default and remedies upon Events of Default, including
                                            customary termination events for, among other things, any material
                                            default, violation, or breach of the terms of the Proposed Replacement
                                            Interim DIP Order by the Debtors, the entry of the Final Order shall
                                            have not occurred within 30 days after the date on which a motion to
                                            approve the DIP Facility is filed, the RSA not being fully and finally
                                            terminated and/or has not ceased to be in full force and effect on or prior
 Default Provisions and Remedies
                                            to the date upon which the Final Order is to be entered, or
 Complex Case
                                            noncompliance, subject to any applicable grace and/or cure periods
 Procedures ¶ 8(e)
                                            under the Motion, the Proposed Replacement Interim DIP Order or the
                                            Replacement DIP Documents. Replacement Interim DIP Term Sheet
                                            ¶26.
                                            Justification. These Events of Default appropriately balance, in the
                                            Debtors’ view, the Replacement DIP Lenders’ need for protection and
                                            the Debtors’ need for debtor-in-possession financing and continued
                                            access to Cash Collateral. In addition, the Replacement DIP Agent must
                                            provide 5 calendar days’ notice prior to exercising its rights under the


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            DIP Facility Term                                     Relief Requested
                                       Replacement DIP Documents and file a motion (the “Stay Relief
                                       Motion”) seeking emergency relief from the automatic stay. Until such
                                       time as the Stay Relief Motion has been adjudicated by the Court, the
                                       Debtors may use Cash Collateral solely to fund (i) payroll and other
                                       critical operating expenses included in (and subject to) the Approved
                                       Budget that are critically necessary to keep the Debtors’ businesses
                                       operating or that have been consented to by the Replacement DIP
                                       Lenders (which consent shall not be unreasonably withheld or delayed),
                                       and (ii) the Professional Fees Escrow Amount. Therefore, the Proposed
                                       Replacement Interim DIP Order does not provide for the automatic
                                       lifting of the stay upon an Event of Default.
                                       Effective as of the date of entry of the Proposed Replacement Interim
                                       DIP Order, each of the Debtors and the Debtors’ estates, on its own
                                       behalf and on behalf of its past, present and future predecessors,
                                       successors, heirs, subsidiaries, and assigns, hereby absolutely,
                                       unconditionally and irrevocably releases and forever discharges and
                                       acquits:
                                       a)   Each of the Prepetition Secured Parties and each of their respective
                                            Representatives (in their capacities as such) from any and all
                                            obligations and liabilities to the Debtors (and their successors and
                                            assigns) and from any and all claims, counterclaims, cross-claims,
                                            demands, defenses, objections, challenges, offsets or setoff, debts,
                                            accounts, contracts, liabilities, remedies, suits, controversies,
                                            actions, causes of action, losses, damages, indemnities,
                                            reimbursement obligations, attorneys’ fees, costs, expenses or
                                            judgments, of every kind or nature whatsoever, whether matured
                                            or unmatured, known or unknown, asserted or unasserted,
                                            suspected or unsuspected, foreseen or unforeseen, accrued or
                                            unaccrued, liquidated or unliquidated, fixed or contingent, pending
 Releases of Claim Against Lender or        or threatened, arising in law or equity, upon contract or tort, under
 Others                                     the Bankruptcy Code, any state or federal common law, statute,
 Complex Case                               rule, regulation or otherwise, in each case, that may be asserted by
 Procedures ¶ 8(f)                          any of the Debtors, their respective estates, predecessors,
                                            successors or assigns, against the Prepetition Secured Parties or
                                            their respective Representatives (in their capacities as such) for or
                                            by reason of any act, omission, matter, cause or thing whatsoever
                                            arising at any time prior to the date of the Proposed Replacement
                                            Interim DIP Order, in each case, arising under, in connection with,
                                            or related to the Proposed Replacement Interim DIP Order, the
                                            Prepetition Notes, the Prepetition Liens, the Prepetition Secured
                                            Notes Collateral, the Prepetition Secured Obligations, the
                                            Prepetition Notes Documents, the Adequate Protection
                                            Obligations, the transactions contemplated thereunder or
                                            hereunder, or the negotiation thereof or hereof, including any claim
                                            or cause of action seeking (i) any so-called lender liability, (ii) any
                                            and all claims arising under the Bankruptcy Code, whether under
                                            chapter 5 of the Bankruptcy Code or under applicable law
                                            (including any applicable state law Uniform Fraudulent Transfer
                                            Act, Uniform Fraudulent Conveyance Act or similar statute or
                                            common law), or (iii) reduction, recoupment, recharacterization,
                                            subordination (whether equitable, contractual or otherwise),
                                            reclassification, disgorgement, disallowance, impairment,


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            DIP Facility Term                             Relief Requested
                                    marshalling, surcharge or recovery, or any other related claim or
                                    cause of action with respect to the validity, enforceability, priority,
                                    scope, extent or perfection of the Prepetition Liens, the Prepetition
                                    Secured Obligations, or the Prepetition Notes Documents (as
                                    relevant); and

                                 (b) each of the Replacement DIP Secured Parties and each of their
                                    respective Representatives (in their capacities as such) from any
                                    and all obligations and liabilities to the Replacement DIP Loan
                                    Parties (and their successors and assigns) and from any and all
                                    claims, counterclaims, cross-claims, demands, defenses,
                                    objections, challenges, offsets or setoff, debts, accounts, contracts,
                                    liabilities, remedies, suits, controversies, actions, causes of action,
                                    losses, damages, indemnities, reimbursement obligations,
                                    attorneys’ fees, costs, expenses or judgments, of every kind or
                                    nature whatsoever, whether matured or unmatured, known or
                                    unknown, asserted or unasserted, suspected or unsuspected,
                                    foreseen or unforeseen, accrued or unaccrued, liquidated or
                                    unliquidated, fixed or contingent, pending or threatened, arising in
                                    law or equity, upon contract or tort, under the Bankruptcy Code,
                                    any state or federal common law, statute, rule, regulation or
                                    otherwise, including any claim or cause of action seeking (i) any
                                    so-called lender liability, (ii) any and all claims arising under the
                                    Bankruptcy Code, whether under chapter 5 of the Bankruptcy
                                    Code or under applicable law (including any applicable state law
                                    Uniform Fraudulent Transfer Act, Uniform Fraudulent
                                    Conveyance Act or similar statute or common law)), or otherwise,
                                    (iii) reduction, recoupment, recharacterization, subordination
                                    (whether equitable, contractual or otherwise), reclassification,
                                    disgorgement, disallowance, impairment, marshalling, surcharge
                                    or recovery, in each case, that may be asserted by any of the
                                    Replacement DIP Loan Parties, their respective estates,
                                    predecessors, successors and assigns, in each case, against any of
                                    the Replacement DIP Secured Parties or their respective
                                    Representatives (in their capacities as such) for or by reason of any
                                    act, omission, matter, cause or thing whatsoever arising at any time
                                    prior to the date of the Proposed Replacement Interim DIP Order,
                                    in connection with, arising under or related to the Proposed
                                    Replacement Interim DIP Order, the Replacement DIP Facility, the
                                    Replacement DIP Liens, the Replacement DIP Obligations, the
                                    Replacement DIP Collateral, the transactions contemplated
                                    thereunder or hereunder, or the negotiation thereof or hereof,
                                    including any claim or cause action with respect to the validity,
                                    enforceability, priority, scope, extent or perfection of the
                                    Replacement DIP Liens, the Replacement DIP Obligations or the
                                    Replacement DIP Loan Documents; provided that subject to the
                                    occurrence of the Closing Date, nothing contained in the foregoing
                                    shall release the Replacement DIP Secured Parties from their
                                    obligations under the Replacement DIP Facility from and after the
                                    date hereof.
                                Proposed Replacement Interim DIP Order ¶¶ E(d); F(e), 34.




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            DIP Facility Term                                            Relief Requested
                                              Justification. The release is appropriate because (i) the Debtors are
                                              being provided consideration in the form of the Replacement DIP
                                              Facility and the and the Prepetition Secured Parties’ consent to the
                                              Debtors’ use of Cash Collateral, which is essential to the Debtors’
                                              ability to maximize value for their estates, and (ii) the release complies
                                              with the requirements of paragraph 8 of the Complex Case Procedures
                                              because the release is subject to the Challenge Period (i.e., no later than
                                              (i) a date that is the later of 60 days after entry of the Replacement Final
                                              DIP Order, (ii) any such later date as has been agreed to, in writing, by
                                              the applicable Prepetition Agent and the Replacement DIP Agent, and
                                              (iii) any such later date as has been ordered by the Court for cause upon
                                              a motion filed and served within any applicable period of time set forth
                                              in paragraph 33 of the Proposed Replacement Interim DIP Order). See
                                              Proposed Replacement Interim DIP Order, ¶ 23.
                                              Cash Collateral may not be used for certain enumerated purposes that
                                              are contrary to the rights and interests of the Lenders, the Replacement
                                              DIP Agent, and Prepetition Secured Parties (e.g., for investigations and
                                              litigation against such parties). Proposed Replacement Interim DIP
 Limitations on the Use of Cash               Order ¶ 24.
 Collateral                                   Justification. These limitations are usual and customary. The Debtors,
 Complex Case                                 having engaged in arm’s length negotiations with the Replacement DIP
 Procedures ¶ 8(g)                            Lenders, Replacement DIP Agent, Prepetition Secured Parties, agreed
                                              to limit the Debtors’ use of Cash Collateral as consideration for, among
                                              other things, the provision of new money within the broader context the
                                              Debtors’ value-maximizing restructuring process. The limitation is
                                              reasonable given the facts and circumstances of these Chapter 11 cases.


                 Comparison of Original DIP Facility and Replacement DIP Facility

                   11.         As set forth in more detail in the Second Singh Declaration, the table below

summarizes certain key features of both the Replacement DIP Facility and the Original DIP

Facility in a side-by-side comparison.


                                                                                                            Improvement vs.
  DIP Facility Term             Original DIP Facility              Replacement DIP Facility
                                                                                                           Original DIP Facility


 Annualized Cost of
  Capital on New                  Greater than 60%                    Approximately 20%                              Yes
     Money
                                6-month, with 3-month
       Maturity                                                 12-month, with 3-month extension                     Yes
                                     extension




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                                    1-to-1 roll-up, in full
                                 commitment amount upon
        Roll-up                                                                  None                     Yes
                                entry of Final Order (i.e., no
                                   creeping mechanism)


          RSA                              Linked                               No link                   Yes

                                    Exit: 115% of then-
   Refinancing Exit                                               Exit: 105% of then-outstanding debt
                                outstanding debt amount in                                                Yes
     Treatment                                                              amount in cash
                                            cash

                                   Up to ~$28 million of
                                                                   Up to $35 million of incremental
      Access to                incremental draws limited to
                                                                    draws available at any time after
     Incremental               schedule in approved budget,                                               Yes
                                                                  Final Order, so long as cash balance
      Liquidity                which requires consent from
                                                                         is below $30 million
                                        DIP Lender
                               Multiple, including regarding
                                                                    None, other than related to DIP
      Milestones                 case timing as it relates to                                             Yes
                                                                  documentation and Final DIP Order
                                           RSA

     Potential for                Objections filed by the
                                                                  Potentially Ad Hoc Group, regarding
    Challenges and               Committee and the ad hoc                                                 Yes
                                                                          use of cash collateral
      Litigation                  group of equity holders

                                                                  Immediate payment of approximately
  Payment to Take
                                No payment needed now to           $9 million to Original DIP Lenders
  Out Original DIP                                                                                        No
                                  continue DIP Facility               for accrued interest, fees, and
      Facility
                                                                          termination payments
                                Limited to $10 million to the
                                                                  Permitted; net proceeds used to repay
      Asset Sales              extent needed to fund shortfall                                            Yes
                                                                       Replacement DIP Facility
                                   of DIP commitments




                                                         Jurisdiction

                    12.         The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                         Background

    A. General Background

                    13.          On December 21, 2022 (the “Petition Date”), the Debtors each

commenced with this Court a voluntary case under the Bankruptcy Code. The Debtors are

authorized to continue to operate their business and manage their properties as debtors in

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possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors’ chapter

11 cases are being jointly administered for procedural purposes only pursuant to Rule 1015(b) of

the Bankruptcy Rules and Rule 1015-1 of the Bankruptcy Local Rules.

                     14.       On January 9, 2023, the United States Trustee for Region 7 (the “U.S.

Trustee”) appointed an official committee of unsecured creditors (the “Committee”). No trustee

or examiner has been appointed in these chapter 11 cases.

                     15.       On December 23 2022, the Court entered the Interim Order (A) Authorizing

the Debtors to (A) Obtain Senior Secured Priming Superpriority Postpetition Financing and (B)

Use Cash Collateral, (II) Granting Liens and Providing Claims with Superpriority Administrative

Expense Status, (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV)

Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief

(Docket No. 130) (the “Original Interim DIP Order”).

                     16.       Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Michael Bros in Support of the Debtors’ Chapter 11 Petitions (Docket No. 5)

(the “First Day Declaration”).

       B. Significant Secured Prepetition Indebtedness

                     17.       The following table provides a summary of the Debtors’ prepetition funded

debt obligations and lease arrangements (the “Prepetition Secured Obligations”) under their

prepetition s(the “Prepetition Secured Facilities”):5

                                          Principal Amount
               Name                                                             Lien Priority and Collateral
                                           (approximate)
    Prepetition April NPA                                                 First priority lien on substantially all
                                     $239.6 million
                                                                          assets of the Debtors as of the Petition

5
    The Debtors reserve the right to assert that any of the debt is not secured due to invalidly perfected liens or otherwise.


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                                        Principal Amount
              Name                                                    Lien Priority and Collateral
                                         (approximate)
                                                                  Date (except equipment subject to
                                                                  other liens and real estate)
  Prepetition August                                              Second priority lien on substantially
  NPA                                                             all assets of the Debtors as of the
                                    $320.7 million
                                                                  Petition Date (except equipment
                                                                  subject to other liens and real estate)
  Secured Mining
                                                                  First lien on the ASIC Miners set forth
  Equipment Financing               $284 million
                                                                  in each lender’s agreement
  and Leases
  Secured Non-Mining                                              First lien on non-mining equipment
  Financings and Leases             $20.8 million                 (and real estate facilities) set forth in
                                                                  each lender’s agreement
                                                                  Real estate facilities set forth in each
  Facility Mortgages                $0.8 million
                                                                  lender’s agreement
  Asserted Mechanics’               Over $65 million (non-        Real estate; priority and perfection
  Liens                             duplicative)                  under review

                   18.         Additional details for each of the Debtors’ debt instruments is provided in

the First Day Declaration. A summary of the secured debt instruments is provided below.

         1.        April and August Convertible Notes.

                   19.         The Debtors have two sets of convertible secured notes with nearly identical

terms (the “Prepetition April NPA” and the “Prepetition August NPA”, together, the

“Prepetition NPAs”). The Prepetition April NPA is dated April 19, 2021, and the Prepetition

August NPA is dated August 20, 2021. The Prepetition NPAs maturity date is April 19, 2025.

The Prepetition NPAs carry the same interest rate and are convertible into shares of common stock

of Core Scientific at a conversion price of $8.00 per share.

                   20.         The obligations under the Prepetition April NPA are secured pursuant to (i)

that certain Security Agreement, dated as of April 19, 2021 (the “April Convertible Notes

Security Agreement”), by and among Core Scientific Holding Co., the NPA Guarantors, as

guarantors, and the Note Agent (in its capacity as collateral agent), and (ii) that certain Intellectual




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Property Security Agreement, dated as of April 19, 2021 (the “April Convertible Notes IP

Security Agreement”).

                   21.         The obligations of the Debtors under the Prepetition August NPA are

secured pursuant to (i) that certain Security Agreement, dated as of August 7, 2022 (the “August

Convertible Notes Security Agreement”), by and among Core Parent, the NPA Guarantors, as

guarantors, and the Note Agent (in its capacity as collateral agent for the August Convertible

Notes), and (ii) that certain Intellectual Property Security Agreement, dated as of August 7, 2022

(the “August Convertible Notes IP Security Agreement” and collectively with the April

Convertible Notes Security Agreement, the April Convertible Notes IP Security Agreement, and

the August Convertible Notes Security Agreement, the “Convertible Notes Security

Agreements”)

         2.        Secured Mining Equipment Financing and Leases.

                   22.         The Debtors utilized equipment leases or secured financing or arrangements

to finance application-specific equipment for the mining of bitcoin (the “ASIC Miners”). As of

the Petition Date, the Debtors have an aggregate of approximately $284 million of equipment

leases and secured financing outstanding under different facilities with respective first lien security

interests against approximately 91,000 of the Debtors’ ASIC Miners. The ASIC Miners are

Excluded Property under such that they are not collateral for the NPA.

         3.        Secured Non-Mining Equipment Financing and Leases.

                   23.         In addition to financing secured against mining equipment, the Debtors

utilize secured financing and leases against non-mining assets to finance and utilize various

infrastructure needs of the Debtors for their day-to-day operations. As of the Petition Date, the

Debtors have approximately $800,000 of facility mortgages, $20.8 million of non-mining

equipment financing, and $9.3 million of non-mining equipment leases, each secured by various

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assets. Like the ASIC Miners, the assets that secure the non-mining financing and leases are

considered Excluded Property under the NPA.

         Need for Replacement DIP Facility and Use of Cash Collateral

                   24.         As discussed in the Second Singh Declaration, the Debtors have an

immediate and critical need to obtain replacement DIP financing to pay the Original DIP Facility

and enter into a DIP financing with more favorable terms to maximize recoveries for all creditors.

                   25.         Further, the Debtors are seeking to reach an agreement with Ad Hoc Group

that permits the Debtors to use Prepetition Secured Noteholders’ Cash Collateral, in exchange for

which the Debtors will provide adequate protection to the Prepetition Secured Noteholders. At

this time, the Debtors do not have an agreement with the Ad Hoc Group on this issue, but are

continuing to work with the Ad Hoc Group to obtain consent. If the Debtors do not obtain such

consent, they will seek to use the cash collateral on a non-consensual basis. The Approved Budget

under the Replacement DIP Facility assumes access to Cash Collateral, and, absent the authority

to use Cash Collateral, the Debtors’ funding and operational needs are not anticipated to be met

and the Debtors will likely not be able to continue operations in the ordinary course of business,

which would have a detrimental impact on the value of the enterprise.

         Efforts to Obtain Postpetition Financing

                   26.         As set forth in the Second Singh Declaration, beginning in December 2022,

the Debtors, through PJT, launched a broad marketing process designed to maximize competition

and solicit proposals from a wide range of prospective lenders, including (i) creditors already in

the Debtors’ capital structure, (ii) banks outside of the Debtors’ capital structure, (iii) institutional

and alternative lenders outside the Debtors’ capital structure, and (iv) strategic parties.

                   27.         Prior to the Petition Date, PJT contacted 24 potential lenders it believed may

have been interested in providing the Debtors with postpetition financing, including an ad hoc

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group of the Prepetition Secured Parties, B. Riley, and several alternative lenders outside of the

Debtors’ capital structure. Nine (9) parties signed non-disclosure agreements, and the Debtors

received two (2) initial proposals, including one from the Ad Hoc Group and one from a third party

that ceased negotiations prior to reaching an agreement with the Debtors.

                   28.         Subsequent to the entry of the Original Interim DIP Order, PJT contacted

48 potential lenders that it believed may have been interested in providing the Debtors with

postpetition financing, seven (7) of which PJT had previously contacted prepetition and a number

of which the financial advisors to the Committee recommended that PJT contact. Twenty (20)

new parties signed non-disclosure agreements, and the Debtors received four (4) initial proposals

for the Replacement DIP Facility. The Debtors negotiated with three of the four potential

Replacement DIP Lenders, as the fourth proposal was received too late to be actionable in a timely

manner, including trading multiple term sheets. All four potential lenders engaged in significant

diligence during the postpetition DIP marketing process. The Replacement DIP Lender ultimately

provided the Debtors with the best terms—as a whole—for a postpetition financing facility. Over

the course of the past few days, the Debtors also provided the Ad Hoc Group with ample

opportunity to improve their DIP Facility terms. Specifically, the Debtors requested that the Ad

Hoc Group agree to several changes to the DIP Facility, including eliminating the Roll-Up,

eliminating the default based on termination of the Restructuring Support Agreement, permitting

asset sale proceeds to be used to pay off the DIP Facility, and improved economics. In addition,

the Debtors shared the term sheets received from potential DIP lenders on a timely basis with both

the Ad Hoc Group and the Committee. The Ad Hoc Group indicated an unwillingness to make

the significant changes that would have been required to make its DIP Facility competitive with

the other proposals the Debtors received.



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                   29.         The negotiations with the Replacement DIP Lender were rigorous, marked

by hard bargaining, and resulted in significant concessions by the Replacement DIP Lender and

additional benefits to the Debtors. It is unlikely that the Debtors would be unable to obtain this

level of credit on more attractive terms, taken as a whole, within the timeframe required.

                   30.         Accordingly, the Replacement DIP Facility, taken as a whole, is the

Debtors’ best postpetition financing option and is reasonable under the facts and circumstances of

Debtors’ chapter 11 cases.

         Terms of Replacement DIP Facility Are Reasonable Under the Circumstances

                   31.         As discussed in the Second Singh Declaration, the obligations, interest rate,

fees, maturity, covenants, and lack of milestones under the Replacement DIP Facility are

reasonable, taken as a whole, under the circumstances and are generally consistent with market

terms for companies facing similar circumstances as the Debtors and provides the best financing

option currently available to the Debtors under the circumstances. Accordingly, the Replacement

DIP Lender has acted in good faith and has agreed to provide the Replacement DIP Facility to the

Debtors on terms, that are fair and reasonable under the current circumstances and market

conditions.

                   32.         Junior Liens. A substantial portion of the Debtors’ assets consists of

equipment that is encumbered by secured financing arrangements other than under the Prepetition

NPAs, as well as some real estate encumbered by mortgages, fixture filings and mechanics’ liens.

Rather than insisting on a non-consensual priming lien on such encumbered property, the

Replacement DIP Lender has agreed to receive junior liens on such assets, with the goal of

enhancing the collateral securing the Replacement DIP Facility and avoiding objections from these

other secured parties. While much of the Debtors’ equipment and real estate assets are encumbered

by equipment financing, mortgages, fixture filings and mechanics’ liens, as applicable, the

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Replacement DIP Lender would not provide capital without receiving liens that are junior to the

liens securing these assets.

                   33.         Liens on Unencumbered Assets. In addition, the Replacement DIP Lender

requires a perfected first priority security interest and lien on substantially all of the Debtors’

unencumbered assets. Absent such protections, the Replacement DIP Lender would not have

agreed to provide the Replacement DIP Facility to the Debtors.

                   34.         The terms of Replacement DIP Facility, including the liens being granted,

are an important part of the Replacement DIP Facility that will allow the Debtors to maintain

sufficient liquidity while they strive to achieve a comprehensive restructuring solution for their

creditors and other stakeholders.

          Fees in Connection with Replacement DIP Facility Are Fair and Reasonable

                   35.         The Replacement DIP Lender has committed to provide a substantial

amount of capital to ensure successful execution of the Replacement DIP Facility. As discussed

in the Second Singh Declaration, in view of those commitments and the circumstances of these

cases, including the magnitude of the Debtors’ Chapter 11 Cases and the tangible benefit to the

estates of a substantial committed postpetition financing, the consideration being provided to the

Replacement DIP Lender, taken as a whole, in exchange for providing such commitment, is

reasonable in amount, appropriately compensates the Replacement DIP Lender for its costs and

the assurances it is providing to the process, and is necessary to obtain the Replacement DIP

Facility, which will permit the Debtors to both (i) continue operating their business and (ii)

maximize the value of their estates.

    A. DIP Fees

                   36.         In consideration for the Replacement DIP Agent’s and Replacement DIP

Lender’s respective commitments in connection with the Replacement DIP facility, the Debtors

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have agreed to, among other things, (i) pay certain fees (the “Replacement DIP Fees”), as

discussed in the table above, (ii) pay reasonable and documented out-of-pocket fees and expenses

for the Replacement DIP Lender (including reasonable and documented fees and expenses of

outside counsel) (the “Out-of-Pocket Expenses” and, together with the Replacement DIP Fees,

the “Replacement DIP Fees and Expenses”), and (iii) indemnify the Replacement DIP Lender in

accordance with the Replacement DIP Loan Agreement. Notwithstanding the foregoing, the

Replacement DIP Loan Parties shall be authorized to make the foregoing payments whether or not

the Replacement DIP Facility is consummated unless the Court rules that any Replacement DIP

Lender has (x) materially breached its obligations under any Replacement DIP Loan Document or

(y) failed to fund the Replacement DIP Loans as required under the Replacement DIP Loan

Documents.

    B. Replacement DIP Fees Are Reasonable

                   37.         The Replacement DIP Fees were the subject of arm’s-length and good-faith

negotiations between the Debtors and the Replacement DIP Lender, are integral components of

the overall terms of the Replacement DIP Facility, and were required by the Replacement DIP

Lender as consideration for the extension of postpetition financing. As discussed in the Second

Singh Declaration, it is unlikely that a financing commitment with terms similar to those in the

Replacement DIP Facility was available to the Debtors for lower fees given the existing liens

against the Debtors’ assets, the Debtors’ liquidity position, and the overall depression in bitcoin

prices that has resulted in stress within the cryptocurrency industry.

                                     Relief Requested Should be Granted

                   38.         The Debtors satisfy the requirements for relief under section 364 of the

Bankruptcy Code, which authorizes a debtor to obtain secured or superpriority financing under

certain circumstances. As set forth in the Second Singh Declaration, the Debtors were unable to

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procure sufficient financing in the form of unsecured credit, which would be allowable under

section 503(b)(1) or as an administrative expense, in accordance with sections 364(a) or (b) of the

Bankruptcy Code. See 11 U.S.C. §§ 364(a)-(b), 503(b)(1). Having determined that postpetition

financing was only available pursuant to sections 364(c) of the Bankruptcy Code, the Debtors

negotiated with the Replacement DIP Lender to secure the Replacement DIP Facility on the terms

described herein. For these reasons, as discussed further below, the Debtors satisfy the necessary

conditions under sections 364(c) for authority to enter into the Replacement DIP Facility.

         The Refinancing DIP Facility Should be Approved

                   39.         The Debtors satisfy the requirements for relief under section 364 of the

Bankruptcy Code, which authorizes a debtor to obtain secured or superpriority financing under

certain circumstances. The Debtors would be unable to procure sufficient financing in the form of

unsecured credit, which would be allowable under section 503(b)(1) or as an administrative

expense, in accordance with sections 364(a) or (b) of the Bankruptcy Code. See 11 U.S.C. §§

364(a)-(b), 503(b)(1). Having determined that postpetition financing was only available pursuant

to sections 364(c) and (d) of the Bankruptcy Code, the Debtors negotiated with B. Riley to secure

the Replacement DIP Facility on the terms described herein. For these reasons, and as discussed

further below, the Debtors satisfy the necessary conditions under section 364 for authority to enter

into the Replacement DIP Facility.

         1.        Entry into the Replacement DIP Facility and Repayment of the Original DIP
                   Facility is an Exercise of the Debtors’ Sound Business Judgment

                   40.         Several reasons justify the relief requested herein:

                          i.    The Debtors expect that vendors, customers, and their employees
                                will be highly focused on whether these chapter 11 cases are
                                appropriately funded.

                         ii.    The terms of the Replacement DIP Facility, taken as a whole, are
                                superior to the terms of the Original DIP Facility.

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                       iii.     The Debtors are required to have their Original DIP Facility
                                entered on a final basis or paid off by February 1, 2023.
                                Immediate access to Replacement DIP Facility is therefore critical
                                to repay the Original DIP Facility and ensure sufficient working
                                capital to operate their business and to administer their estates.

                        iv.     The Debtors’ proposed interim draw of up to $35 million under
                                the Replacement DIP Facility is necessary for the Debtors to avoid
                                immediate and irreparable harm to their estates.

                         v.     Negotiations with the proposed Replacement DIP Lender were
                                conducted in good faith and at arms’ length. As confirmed by the
                                Debtors’ prepetition process to solicit proposals for third-party
                                debtor-in-possession financing, there is no better alternative
                                financing available to the Debtors in the market. The Replacement
                                DIP Facility, taken as a whole, is reasonable under the facts and
                                circumstances and is the Debtors’ best available option.

For those reasons and the reasons set forth below, the Debtors respectfully request that the Court

grant the relief requested herein.

                   41.         If an agreement to obtain secured credit does not run afoul of the provisions

of, and policies underlying, the Bankruptcy Code, courts give debtors considerable deference in

acting in accordance with their sound business judgment in obtaining such credit. See, e.g., In re

N. Bay Gen. Hosp., Inc., No. 08-20368 (Bankr. S.D. Tex. July 11, 2008) (Docket No. 21) (order

approving postpetition financing on an interim basis as exercise of debtors’ business judgment);

In re Los Angeles Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost

always defer to the business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t

Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s

discretion under section 364 is to be utilized on grounds that permit reasonable business judgment

to be exercised so long as the financing agreement does not contain terms that leverage the

bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to benefit

a party-in-interest.”).




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                   42.         Courts generally will not second-guess a debtor’s business decisions when

those decisions involve the appropriate level of care in arriving at the decision on an informed

basis, in good faith, and in the honest belief that the action was taken in the best interest of the

debtor. See In re Los Angeles Dodgers LLC, 457 B.R. at 313. To determine whether the business

judgment test is met, “the court ‘is required to examine whether a reasonable business person

would make a similar decision under similar circumstances.’” In re Dura Auto. Sys. Inc., No. 06-

11202 (KJC), 2007 WL 7728109, at *97 (Bankr. D. Del. Aug. 15, 2007) (citation omitted).

Further, in considering whether the terms of postpetition financings are fair and reasonable, courts

consider the terms in light of the relative circumstances of both the debtor and the potential lender.

In re Farmland Indus., Inc., 294 B.R. 855—86 (Bankr. W.D. Mo. 2003); see also Unsecured

Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Tr. Co. of Escanaba (In re Ellingsen

MacLean Oil Co., Inc.), 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have

to enter into “hard bargains” to acquire funds for its reorganization).

                   43.         The Debtors’ determination to move forward with the Replacement DIP

Facility is a sound exercise of their business judgment following a thorough process conducted

with the guidance of experienced advisors, and after careful evaluation of alternatives. Given the

nature of the Debtors’ relatively limited unencumbered asset pool, the Replacement DIP Lender is

the best available financing source that could commit to a facility on the most favorable terms, and

is a better financing source than that of the previous Original DIP Facility. The Debtors negotiated

the Replacement DIP Loan Agreement with the Replacement DIP Lender in good faith, at arm’s

length, and with the assistance of their advisors, and the Debtors believe that they have obtained

the best financing available in an amount sufficient to fund operations and the costs of these chapter

11 cases, and on reasonable terms.



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                   44.         Additionally, the removal of (i) the Roll-Up, (ii) the linking of DIP

financings to the RSA, and (iii) significant milestones contained the Original DIP Facility allows

the Debtors the flexibility in pursuit of a potential chapter 11 plan. Further, the lower overall cost

of capital provided under the Replacement DIP Facility will allow for more value to be allocated

to the Debtors’ stakeholders. Accordingly, the Court should authorize the Debtors’ entry into the

Replacement DIP Documents as a reasonable exercise of the Debtors’ business judgment.

         2.        Debtors Should Be Authorized to Obtain Replacement DIP Financing on a
                   Secured and Superpriority Basis

                   45.         The Debtors satisfy the requirements for relief under section 364 of the

Bankruptcy Code, which authorizes a debtor to obtain secured or superpriority financing under

certain circumstances. Specifically, section 364(c) of the Bankruptcy Code provides that:

                   If the trustee is unable to obtain unsecured credit allowable under section
                   503(b)(1) of this title as an administrative expense, the court, after notice
                   and a hearing, may authorize the obtaining of credit or the incurring of debt:

                   (1) with priority over any or all administrative expenses of the kind
                   specified in section 503(b) or 507(b) of this title;

                   (2) secured by a lien on property of the estate that is not otherwise subject
                   to a lien; or

                   (3) secured by a junior lien on property of the estate that is subject to a lien[.]

11 U.S.C. § 364(c).

                   46.         To satisfy the requirements of section 364(c) of the Bankruptcy Code,

Courts will consider whether (a) the debtor made reasonable effort, but failed, to obtain unsecured

credit under sections 364(a) and 364(b) of the Bankruptcy Code, (b) the credit transaction benefits

the debtor as necessary to preserve estate assets, and (c) the terms of the credit transaction are fair,

reasonable, and adequate, given the circumstances of the debtor and proposed lender. See In re

Republic Airways Holdings Inc., No. 16-10429(SHL) 2016 WL 2616717, at *11 (Bankr. S.D.N.Y.


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May 4, 2016); In re Los Angeles Dodgers LLC, 457 B.R. at 312–13; In re Ames Dep’t Stores, Inc.,

115 B.R. at 40. However, section 364 “imposes no duty to seek credit from every possible lender

before concluding that such credit is unavailable.” Bray v. Shenandoah Fed. Savs. & Loan Ass’n

(In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986).

                   47.         First, subsequent to the entry of the Original Interim DIP Order, PJT

contacted dozens of parties, received four new proposals, and negotiated with three parties before

determining that the Replacement DIP Facility was the best option and superior to the Original

DIP Facility for the reasons stated above. The Court should, therefore, authorize the Debtors to

provide the Replacement DIP Agent and the Replacement DIP Lenders with superpriority

administrative expense status for any Replacement DIP Obligations as provided for in section

364(c)(1) of the Bankruptcy Code, with (i) first priority senior liens on the Debtors’ unencumbered

property pursuant to section 364(c)(2) of the Bankruptcy Code, and (ii) junior liens on all property

subject to valid, perfected and non-avoidable liens in existence as of the Petition Date or perfected

subsequent to the Petition Date as permitted by Section 546(b) of the Bankruptcy Code (other than

the Primed Liens) pursuant to section 364(c)(3) of the Bankruptcy Code.

                   48.         Second, the Replacement DIP Facility is necessary to preserve the Debtors’

estates. The Debtors require access to the Replacement DIP Facility to pay off the Original DIP

Facility and to ensure they have sufficient liquidity to operate their businesses and administer their

estates in the ordinary course for the duration of these chapter 11 cases. As discussed in the Blokh

Declaration, the Interim DIP Borrowing of $35 million, along with cash on balance sheet, is

projected to provide the Debtors with sufficient liquidity to repay the Original DIP Facility and

fund the Debtors’ operations and the Chapter 11 Cases until the final hearing. After the final

hearing, the Replacement DIP Facility will provide the Debtors with significant flexibility to



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operate their business, including the option to draw—at their sole discretion—up to an additional

$35 million, for an aggregate principal amount of up to $70 million.

                   49.         Third, the terms of the Replacement DIP Facility are fair, reasonable, and

adequate under the circumstances. The Replacement DIP Facility represents the most favorable

source of postpetition financing and is designed to provide the Debtors with sufficient liquidity for

the duration of these chapter 11 cases.

         Debtors Should Be Authorized to Use Cash Collateral

                   50.         For the reasons set forth herein, the Debtors require use of the Cash

Collateral for working capital and to fund their chapter 11 cases. Section 363(c) of the Bankruptcy

Code governs a debtor’s use of a secured creditor’s cash collateral. Section 363(c) provides, in

pertinent part, that:

                   The trustee may not use, sell, or lease cash collateral . . . unless—

                   (A) each entity that has an interest in such cash collateral consents;
                   or

                   (B) the court, after notice and a hearing, authorizes such use, sale,
                   or lease in accordance with the provisions of this section [363].

11 U.S.C. § 363(c)(2). Further, section 363(e) provides that “on request of an entity that has an

interest in property . . . proposed to be used, sold or leased, by the trustee, the court, with or without

a hearing, shall prohibit or condition such use, sale, or lease as is necessary to provide adequate

protection of such interest.” 11 U.S.C. § 363(e).

                   51.         The Debtors have satisfied the requirements of sections 363(c)(2) and (e),

and should be authorized to use Cash Collateral. The Debtors expect that the Prepetition Agent

will consent to the Adequate Protection to be provided pursuant to the Proposed Replacement

Interim DIP Order.




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                   52.         In the event the Prepetition Agent does not consent, the Debtors will

demonstrate at the hearing that they are providing the Prepetition Secured Parties with adequate

protection for the use of Cash Collateral. Accordingly, the Court should grant the Debtors the

authority to use Cash Collateral under section 363(c) of the Bankruptcy Code.

         Debtors Should Be Authorized to Pay Fees Required by Replacement DIP
         Documents

                   53.         As described herein, the Debtors have agreed, subject to Court approval, to

pay the Replacement DIP Fees in exchange for their providing the Replacement DIP Facility. As

set forth in the Second Singh Declaration, taken as a whole, the terms of the Replacement DIP

Documents, including the fees imposed thereunder, are reasonable under the facts and

circumstances and are the Debtors’ best currently available option to maintain their ongoing

business operations and to fund their chapter 11 cases.

                   54.         The Debtors considered the Replacement DIP Fees when determining in

their sound business judgment whether entry into the Replacement DIP Facility constituted the

best path forward, and the Debtors determined that paying these fees in order to obtain the

Replacement DIP Facility is in the best interests of the Debtors’ estates. Accordingly, the Court

should authorize the Debtors to pay the Replacement DIP Fees.

         Carve-Out Is Appropriate

                   55.         The Replacement DIP subjects the Replacement DIP Lenders’ security

interests, superpriority administrative expense claims, and the adequate protection claims and liens

to the Carve Out. Without the Carve Out, the Debtors’ estates or other parties in interest could be

harmed because the services professionals might otherwise provide in these chapter 11 cases could

be restricted. See In re Ames Dep’t Stores, 115 B.R. at 38 (observing that courts insist on Carve

Outs for professionals representing parties in interest because “[a]bsent such protection, the


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collective rights and expectations of all parties in interest are sorely prejudiced”). Additionally,

the Carve Out protects against administrative insolvency during the pendency of the chapter 11

cases by ensuring that assets are available to pay U.S. Trustee’s fees and professional fees of the

Debtors and any statutory committee. Accordingly, the Debtors submit that the Carve Out is

appropriate.

                   56.         In addition, the Carve Out enables the Debtors to pay the Original DIP

Facility, enabling the Debtors to enter into the Replacement DIP Facility, which provides more

favorable terms for the Debtors which will inure to the benefit of all parties in interest during these

chapter 11 cases.

         Replacement DIP Lenders Should Be Deemed Good Faith Lenders under Section
         364(e)

                   57.         Section 364(e) of the Bankruptcy Code protects a good faith lender’s right

to collect on loans extended to a debtor, and its right in any lien securing those loans, even if the

authority of the debtor to obtain such loans or to grant such liens is later reversed or modified on

appeal. Section 364(e) provides that:

                   The reversal or modification on appeal of an authorization under this
                   section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                   or of a grant under this section of a priority or a lien, does not affect
                   the validity of any debt so incurred, or any priority or lien so granted,
                   to an entity that extended such credit in good faith, whether or not
                   such entity knew of the pendency of the appeal, unless such
                   authorization and the incurring of such debt, or the granting of such
                   priority or lien, were stayed pending appeal.

11 U.S.C. § 364(e).

                   58.         Here, the Debtors believe the Replacement DIP Facility embodies the most

favorable terms on which the Debtors could obtain postpetition financing. As described in the

Second Singh Declaration, the negotiations of the terms of the Replacement DIP Facility with the

Replacement DIP Lenders were conducted at arms’ length. Under the circumstances, the terms

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and conditions of the Replacement DIP Documents are reasonable, and the proceeds of the

Replacement DIP Facility will be used only for purposes that are permissible under the Bankruptcy

Code, in accordance with the Replacement DIP Orders and the Replacement DIP Documents and

in accordance with the Budget (subject to any Permitted Variance). Further, no consideration is

being provided to any party to the Replacement DIP Documents other than as described herein.

Accordingly, the Court should find that the Replacement DIP Lenders are “good faith” lenders

within the meaning of section 364(e) of the Bankruptcy Code and that the Replacement DIP

Lenders thus are entitled to all of the protections afforded by that section.

         Modification of Automatic Stay is Warranted

                   59.         The relief requested herein contemplates a modification of the automatic

stay (if applicable) to (a) permit the Debtors to grant the security interests, liens, and superpriority

claims described above and to perform such acts as may be requested to assure the perfection and

priority of such security interests and liens, and (b) permit the Replacement DIP Agent,

Replacement DIP Lenders, and the Prepetition Secured Parties to exercise rights and remedies

under certain circumstances. These provisions were part of the quid pro quo for the Debtors’

ability to obtain the Replacement DIP Facility and use Cash Collateral as provided therein and in

the Proposed Replacement Interim DIP Order. Notably, the exercise of remedies (including

remedies with respect to prepetition claims and collateral) will be subject to five calendar days’

notice to allow the Debtors to cure or seek other relief. Moreover, following the delivery of such

notice, the Replacement DIP Agent may file a Stay Relief Motion seeking emergency relief from

the automatic stay and until such time as the Stay Relief Motion has been adjudicated by the Court,

the Debtors may use the proceeds of the Replacement DIP Facilities (to the extent drawn prior to

the occurrence of the Event of Default (as defined in the Replacement DIP Loan Agreement)) or

Cash Collateral to fund operations in accordance with the Replacement DIP Loan Agreement.

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Under these circumstances, the Debtors believe that the extent of the modifications to the

automatic stay under the Proposed Replacement Interim DIP Order is reasonable and should be

approved.

                   60.         Stay modifications of this kind are ordinary and standard features of

postpetition financing facilities and, in the Debtors’ business judgment, are appropriate under the

present circumstances. See, e.g., In re Sheridan Holding Company II, LLC, No. 19-35198 (MI)

(Bankr. S.D. Tex. October 21, 2019) (Docket No. 178) (modifying automatic stay as necessary to

effectuate the terms of the order); In re Vanguard Natural Resources, Inc., No. 19-31786 (DRJ)

(Bankr. S.D. Tex. April 3, 2019) (Docket No. 118) (same); In re Southcross Holdings LP, No. 16-

20111 (MI) (Bankr. S.D. Tex. Apr. 11, 2016) (Docket No. 183) (same); In re Autoseis, Inc., No.

14-20130 (RSS) (Bankr. S.D. Tex. Mar. 27, 2014) (Docket No. 64) (same); In re ATP Oil & Gas

Corp., No. 12-36187 (MI) (Bankr. S.D. Tex. Aug. 21, 2012) (Docket No. 135) (same).

         Debtors Require Immediate Access to Cash Collateral and DIP Financing

                   61.         The Court may grant interim relief in respect of a motion filed pursuant to

section 363(c) or 364 of the Bankruptcy Code if, as here, interim relief is “necessary to avoid

immediate and irreparable harm to the estate pending a final hearing.” Fed. R. Bankr. P.

4001(b)(2), (c)(2). In examining requests for interim relief under this rule, Courts generally apply

the same business judgment standard applicable to other business decisions. See Ames Dep’t

Stores, 115 B.R. at 36.

                   62.         As described in the Second Singh Declaration, the Debtors will use the

Replacement DIP Facility and their cash on hand to pay off the Original DIP Facility, including

approximately $9 million of take-out costs, consisting of approximately $0.5 million in accrued

PIK interest, approximately $0.8 million of upfront fees, approximately $1.6 million in backstop

fees, and approximately $6 million in termination fees, which were approved by the Court in the

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Original Interim DIP Order. Absent authority to enter into and access the proceeds of the

Replacement DIP Facility, the Debtors will be either in default or subject to the inferior and

burdensome terms of Original DIP Facility. The Debtors require immediate access to the proceeds

of the Replacement DIP Facility, as well as access to Cash Collateral, to repay the Original DIP

Facility, finance their operations, and continue operating as a going concern during the pendency

of these chapter 11 cases. In addition, access to the Replacement DIP Facility will provide the

Debtors with financial stability in the event of unforeseen circumstances attendant to the uncertain

and volatile bitcoin market. Accordingly, for the reasons set forth above, prompt entry of the

Proposed Replacement Interim DIP Order is necessary to provide more flexible DIP financing that

would lead to immediate benefit to the Debtors’ estates.

         Interests of Prepetition Secured Parties Are Adequately Protected

                   63.         Parties with an interest in cash collateral are entitled to adequate protection.

See 11 U.S.C. § 363(e). Adequate protection may be provided in various forms, including, among

other things, payment of adequate protection fees, payment of interest, or granting of replacement

liens or administrative claims. Thus, what constitutes adequate protection is decided on a case-

by-case basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564 (3d Cir. 1994); In re

Satcon Tech. Corp., No. 12-12869 (KG), 2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7, 2012);

In re N.J. Affordable Homes Corp., No. 05-60442 (DHS), 2006 WL 2128624, at *14 (Bankr.

D.N.J. June 29, 2006); In re Columbia Gas Sys., Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2

(Bankr. D. Del. Feb. 18, 1992); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H.

1993) (citing 2 Collier on Bankruptcy ¶ 361.01[1] at 361–66 (15th ed. 1993) (explaining that

adequate protection can take many forms and “must be determined based upon equitable

considerations arising from the particular facts of each proceeding”)).



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                   64.         The adequate protection package provided to the requisite Prepetition

Secured Parties, as described above, is consensual and appropriately safeguards the Prepetition

Secured Parties from the diminution in the value (if any) of their interests in the Prepetition

Collateral. The Debtors submit that their provision of adequate protection to the Prepetition

Secured Parties is fair and reasonable and is sufficient to satisfy the requirements of

section 364(d)(1)(B) of the Bankruptcy Code.

                                           Request for Final Hearing

                   65.         Pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2), the Debtors

request that the Court set a date for consideration of entry of the Replacement Final DIP Order.

The Debtors request that they be authorized to serve a copy of the signed Proposed Replacement

Interim DIP Order, which fixes the time and date for the filing of any objections by first class mail

upon the notice parties listed below. The Debtors further request that the Court consider such

notice of the Final Hearing to be sufficient notice under Bankruptcy Rule 4001(c)(2).

                                  Compliance with Bankruptcy Rule 6004(a)
                                   and Waiver of Bankruptcy Rule 6004(h)

                   66.         To implement the foregoing successfully, the Debtors request that the Court

find that notice of the Motion satisfies Bankruptcy Rule 6004(a) and that the Court waive the 14-

day period under Bankruptcy Rule 6004(h).

                                             Reservation of Rights

                   67.         Nothing contained herein is intended to be or shall be deemed as (i) an

admission as to the validity of any claim against the Debtors, (ii) a waiver or limitation of the

Debtors’ or any party in interest’s rights to dispute the amount of, basis for, or validity of any

claim, (iii) a waiver of the Debtors’ or any other party in interest’s rights under the Bankruptcy

Code or any other applicable nonbankruptcy law, (iv) an agreement or obligation to pay any


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claims, (v) a waiver of any claims or causes of action which may exist against any creditor or

interest holder, (vi) an admission as to the validity of any liens satisfied pursuant to this Motion,

or (vii) an approval, assumption, adoption, or rejection of any agreement, contract, lease, program,

or policy under section 365 of the Bankruptcy Code. Likewise, if the Court grants the relief sought

herein, any payment made pursuant to the Court’s order is not intended to be and should not be

construed as an admission to the validity of any claim or a waiver of the Debtors’ or any other

party in interest’s rights to dispute such claim subsequently.



                                                      Notice

                   68.         Notice of this Motion will be served on any party entitled to notice pursuant

to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local Rule

9013-1(d).

                                              No Previous Request

                   69.         No previous request for the relief sought herein has been made by the

Debtors to this or any other court.



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                   WHEREFORE the Debtors respectfully request entry of the Proposed Replacement

Interim DIP Order granting the relief requested herein and such other and further relief as the Court

may deem just and appropriate.

         Dated: January 31, 2023

         Houston, Texas

                                                      Respectfully submitted,

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                                              Proposed Attorneys for Debtors
                                              and Debtors in Possession




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                                    Certificate of Service

I hereby certify that on January 31, 2023, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                      /s/ Alfredo R. Pérez
                                                     Alfredo R. Pérez




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